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EXHIBIT A

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Harris 5, Freier, Esq. ~ 013412006

 

Attorneys for Plaintiff,
ADP, LLC
ADP, LLC, SUPERIOR COURT OF NEW JBRSHY
CHANCERY DIVISION: ESSEX COUNTY
Plaintiff, .
DOCKET NO.;
Vv. .
CIVIL ACTION
CHASE AMUNDSON,
Defendant. SUMMONS

 

 

From the State of New Jersey
To the Defendant Named Above; CHASE AMUNDSON

The Plaintiff, named above, has filed a lawsuit against you in the Superior Court of
New Jersey. The complaint attached to this summons states the basis for the lawsuit, If you
dispute this complaint, you or your attorney must file a wtitten answer or motion and proof of
service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory
of the addresses of each deputy clerk of the Superior court is available in the Civil Division
Management Office in the county TIisted above and online = at
http://www judiciary, state.nj.us/prose/10153_deptycierklawref. pdf.) If the complaint is one in
foreclosure, then you must file your written answer or motion and proof of service with the
Clerk of the Superior Court, Hughes Justice Complex, P.O. Box 971, Trenton, New Jersey
08625-0971, A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany
your answer or motion when ii is filed. You must also send a copy of your answer or motion
to plaintiff's attorneys whose name and address appear above, of to plaintiff, if no attorney is
named above. A telephones call will not protect your rights; you must file and serve a written

“answer or motlon (with a fee of $135.00 and completed Case Information Statement) if you

want the court to hear your defense.

If you do not file and serve a written answer or motion within 35 days, the court may
enter a judgment against you for the relief plaintiff demands, plus interest and costs of suit. If

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judgment is entered against you, the Sheriff may seize yout money, wages or property to pay
all or part of the judgment.

IF you cannot afford an attorney, you may call the Legal Services in the county where
you live or the Legal Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-
576-5529), If you do not have an attorney and are not eligible for free legal assistance, you
may obtain a referral to an attorney by calling one of the Lawyer Referral Services. A
directory with contact information for local Legal Services Offices and Lawyer Referral
Services is available in the City Division Management Office in the county listed above and
online at http://www. jndiciary state.nj.us/prose/10153_deptyclerklawtef. pdf.

fs} Michelie M, Smith
MICHELLE M. SMITH
Clerk of the Superior Court

 

DATED: December 10, 2015

Nate of Defendant to be Served: CHASE AMUNDSON

Address of Defendant to be Served: 5524 Knox Avenue South, Minneapolis, Plymouth
County, Minnesota
Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15. Page 4 of 66 PagelD: 7

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Attorneys for Plaintiff, ADP, LLC

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ADP, LLC, : SUPERIOR COURT OF NEW JERSEY

 

: CHANCERY DIVISION: ESSEX CO
Plaintiff, : DOCKET NO: ‘om Ah hs
;
CHASE AMUNDSON,

Defendant. ‘

 

COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

 

Plaintiff, ADP, LLC (“ADP”), for its Complaint for Injunctive and Other Relief against

Defendant Chase Amundson (“Defendant or “Amundson”), states as follows:

INTRODUCTION

1, This action arises out of various breaches of contract, unfair competition, breach
of duty of loyalty, and misappropriation of trade secrets,

JURISDICTION AND PARTIES

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the years to select, hire, and train employees to build on and strengthen ADP’s reputation and to

develop and continue its relationships with its clients and its marketing partners.

 

~B To promote-valuable relationships between ‘its~employces~and “its -clients and
marketing partners, ADP hes, among other things: recruited, hired and trained highly qualified
sales employees and leadership; extensively marketed its services in the local community;
provided competitive pricing in each market; established policies to provide quick and fair
responses to any concerns made by clients; developed significant relationships with strategic
marketing partners; and made customer service a primary goal and objective of its business,

9, ADP’s success in the industry is also largely attributable to its confidential, trade
secret, and proptietary information regarding, among other things, its proprietary products,
sofware, services, techniques, strategic business plans, client and prospect lists, clent
preferences, pricing and contract details, operational procedures, marketing and sales strategies,
and referral sources. ADP has invested significant time, money, and resources to generate,
develop, and maintain its confidential, trade secret, and proprietary information.

Amundson’s Employment with ADP

10, Tn or about April 2007, ADP hired Amundson as a Payroll/Retiremeni Services
Representative,

11, In his position as Payroll/Retirement Services Representative, Amundson was
responsible for cultivating, developing, and maintaining business with clients and prospective
clients in the greater Minneapolls-St, Paul, Minnesota region.

12, On April 10, 2007, as a condition of his employment and/or continued
employment with ADP, Amundson entered into a Sales Representative Agreement. (See Sales

Representative Agreement, attached as Exhibit A). The Sales Representative Agreement

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contains certain reasonable restrictions designed to proiect ADP’s confidential business

includes the following non-solicitation provisioni- —- ~~~

{a) Employee agrees that during the period commencing the date Employee
becomes an employee of the Company and ending one year after the date
Employee ceases to be an employee of the Company for any reason whatsoever
{the “Non-Solicitation Period”), Employee shall not, on Employee's behalf or on
behalf of any other person, corporation, partnership or other entity whatsoever (a
“Person”), directly or indirectly, solicit, contact, call upon, communicate with or
attempt to communicate with any Person which was a client, bona fide
prospective client or marketing partner of the Company before the date Employee
ceases to be an Employee of the Company (the “Termination Date”) that (i) was
located in any territory Employee managed or to which Employee was assigned or
covered during the two-year period prior to the Termination Date and/or (ii)
Employee was assigned, managed and/or had knowledge of, contact ot
involvement with during the two-year period prior to the Termination Date, to
sell, Heense or lease any software, product or service competitive or potentially
competitive with any software, product or service sold, licensed, leased, provided
or under development by the Company during the two-year period prior to the
Termination Date, provided that the restrictions set forth in this paragraph shall
only apply to clients, bona fide prospective olients or marketing partners of
businesses of the Company with which the Employee was involved or exposed,

(See Exhibit A, § 4(@)). The Sales Representative Agreement also provides the following non-

disclosure provision:

(b) During and after Employee's employment with the Company, Employee will
not disclose to any Person any business methods, procedures, pricing and
marketing structure and strategy, programs, forms, confidential information, trade
secrets, the names and eddresses of current clients, former clients and prospective
clients of the Company, or other data and information relating to that Company,
its vendors, licensors, marketing partners or clients, learned by Employee at any
time during Employee's employment with the Company (the “Information”,
Upon termination of Employee's employment with the Company, Employee will
return all copies of all materials which belong to the Company (whether or not
such materials were prepared by the Company) and which are in Employee's
possession or over which Employee exercises any control,

(See Exhibit A, {4(b)). In short, Amundson agreed, for good and valuable consideration, during

the Non-Solicitation period, never to solicit ADP’s clients and prospeotive cHents or disclose

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information and client goodwill, among other protectable business interests, Specifically, it

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ADP’s confidential, proprietary, and trade secret information, as defined in the Sales
Representative Agreement, Amundson further agreed to return all ADP materials upon
separating from ADP, (See id). on te eet

13, In the Sales Representative Agreement, Amundson also agreed that any violation
of the covenants set forth therein, including and especially those set forth above, would cauge-_
ADP irreparable harm:

(ce) Employee agrees that a violation of the foregoing covenants not to solicit, not

fo disclose, not to use and not to hire or any provisions thereof will cause

‘itreparable injury to the Company. Accordingly, the Company shall-be entitled,

in addition to any other rights and remedies it may have at law or in equity, to an

injunction enjoining and restraining Employee from doing or continuing to do any
such aet.

(See Exhibit A, § 4(e)).

14. The Sales Representative Agreement includes a New Jersey choice of law
provision. (See Exhibit A, ¥ 7).

13, ADP offers participation in a stock award program to certain employees (the
“Plan”), Participation in the Plan is voluntary, To receive the stock offered and awarded under
the Plan, employees must agree to be bound by certain resftictlve covenants, (See the “2009
Restrictive Covenant Agreement,” attached as Exhibit B), As part of the electronic acceptance
process to receive the awatd of stock, an employee must accept the terms of these restrictive
covenants. An employee cannot complete the process to accept a stock award without first
accessing and accepting a restrictive covenant agreement.

16. Asa condition of receiving restricted stock under the Plan, Amundson entered
into a Restrictive Covenant Agreement dated September 24, 2009. (See, Amundson agreed to,
sinong other things, certain non-oompete, non-solicit, non-interference, non-use, and non-

disclosure obligations concerning ADP’s confidential and proprietary business information, and

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Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15 . Page 8 of 66 PagelD: 11

22. Pursuant to the 2013 Restrictive Covenant Agceement, Amundson agreed to,
among other things, certain non-compete, non-solicit, non-interference, non-use, and non-
disclosure obligations concerning ADP's confidential and proprietary business information, and
the return of such information and ADP property upon Amundson's separation from
employment. The pertinent provisions and restrictive covenants provide in relevant part:

1, Definitions.

d. “Competing Business” means any individual (including me), corporation,
limited liability company, partnership, joint venture, association, or other entity,

pe regardless of form, that is engaged in any business or enterprise that is the same
as, or substantially the same as, the Business of ADP for that part of the business
in which I have worked or to which I have been exposed during my employment
with ADP (regardless of whether ] worked only for a particular segment of that
part of the business in which I worked-for example, business segments based on
the number of employees a Client has or a particular class of business using an
ADP product or service),

h, “Territory” means the geographic area where I worked, represented ADP, or
had Material Business Contact with ADP’s Clients in the two (2) year period
preceding the termination of my employment with ADP,

3. Non-Competition, I agree that during my employment and for a period of
twelve (12) months from the voluntary or involuntary termination of my
employment for any reason and with or without cause, I will not, directly or
indirectly, own, manage, operate, join, control, be employed by or with, or
participate in any manner with a Competing Business anywhere in the Territory
where doing so will require me to (i) provide the same or substantially similar
services to a Competing Business as those which I provided to ADP while
employed, or (i) use or disclose ADP’s trade secrets. However, after my
voluntary or involuntary termination of my employment for any reason and with
or without cause, nothing shall prevent me from owning, as an inactive investor,
securities of any competitor of ADP which is listed on a national securities
exchange, ,

4, Non-Solicitation of and Non-Interference with Clients, Business Partners,
and Vendors.

a, Clients; I agree that during my employment and for a period of twelve (12)
months following the voluntary or involuntary termination of my employment for
any reason and with or without cause, I will not, either on my own behalf or for
any Competing Business, directly or indirectly, solicit, divert, appropriate, or
accept any business from, ‘or attempt to solicit, divert, appropriate, or accept any
business from any Client for the purposes of providing products or services that

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are the same as or substantially similar to those provided in the Business of ADP,
for any Client: (3) whom ADP provides products or services in connection with
the Business of ADP; (ii) whom ADP has provided products or services in
connection with the Business of ADP and with whom ADP reasonably expects
business within the two (2) year period following my termination of employment
from ADP; (ii) whom ADP has actively solicited in connection with the Business
of ADP within the two (2) year period prior to my termination of employment
from ADP; or (iv) about whom I have any trade secret information, I also agree
that J will not wrongfully induce or encourage or attempt to wrongtully induce or
encourage any Clients to cease doing business with ADP or materially alter their
business relationship with ADP.

b, Business Partners: I agree that during my employment and for a period of.
twelve (12) months following the voluntary or involuntary termination of my
employment for any reason end with or without cause, I will not, either on my .
own behalf or for any Competing Business, directly or indirectly engage, contract
with, solicit, divert, appropriate or accept any business from, or attempt fo engage,
contract with, solicit, divert, appropriate or accept any business from any Business
Partner to provide fo me or any Competing Business any product or service that is
{a} the same as or substantially similar to the product or service provided to ADP
and which ADP uses for, uses for obtaining, or distributes to, its Clients ot (b)
specialized, customized or designed by the Business Partner for ADP. This
provision applies only to any Business Partner: (f) whom ADP currently has a
commercial or business relationship with ADP in connection with the Business of
ADP; (ii) whom ADP has had a commercial or business relationship in
connection with the Business of ADP and with whom ADP reasonably expects
business within the two (2) year period following my termination of employment
fiom ADP; (iil) whom ADP has actively solicited for a commercial or business
relationship in connection with the Business of ADP within the two (2) year
period prior to my termination of employment from ADP; or (iv) about whom I
have any trade secret information. | also agree that I will not wrongfully induce or
cheourage or attempt to wrongfully induce or encourage any Business Partner to
cease doing business with ADP or materially alter their business relationship with
ADP.

¢, Vendors: I agree that J will not wrongfully induce or encourage or attempt to
wrongfully induce or encourage any Vendor to cease doing business with ADP or
materially alter their business relationship with ADP,

* ¥ i

6, Non-Disclosure and Non-Use of Confidential Information and Trade
Secrets, During my employment, except as authorized and required to perform
my duties for ADP, and after the voluntary or involuntary termination of my
employment for any reason and with or without cause, I will not disclose, use,
reproduce, distribute, or otherwise disseminate ADP’s Confidential Information

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or trade secrets or take any action causing, or fail to take any action necessary, in
order to prevent any such information to lose its character or cease to qualify as
Confidential Information or a trade secret, I agree to inquire with ADP if ] have
any questions about whether particular information is Confidential Information or
a trade secret before using or disclosing such information, I also agree to
immediately return to ADP all property belonging to ADP such as keys, credit
cards, telephones, tools, equipment, computers, and electronic storage devices, as
well as all originals, copies, or other physical embodiments of ADP’s
Confidential Information or trade secrets (regardless of whether it ls in paper,
electronic, or other form), including any such information in any programs,
business forms, manuals, correspondence, files, databases, or on computer disks
or any other storage medium, whether or not owned or controlled by me or ADP
(o.g., social and business networking websites, web-based email servers, ot cloud
storage services), immediately upon termination of my employment or upon any
earlier request by ADP, and] agree not to keep or distribute any coples, electronic
or otherwise, of any of the foregoing, J also understand that my obligations under
this paragraph, as well as the other covenants in this Agreement, extend to my
activities on the internet, including my use of business oriented social networking
sites such as LinkedIn and Facebook,

7, Prior Agreements and Disclosure of Agreement to Third Parties, [
represent that I am not a patty to any agreement with any former employer or any
other person or entity containing any non-disclosure, non-compete, non-
solicitation, non-recruitment, intellectual property assignment, or other covenants
that will affect my ability to devote my full time and attention to the Business of
ADP that has not already been disclosed to ADP in writing, I also agree to
provide a copy of this Agreement to any subsequent employer, person, or entity to
which | intend to provide services that may conflict with any of my obligations in
this Agreement prior to engaging in any such activities and to provide ADP in
writing the name and address of any such employer, person, or entity and a
description of the services I intend to provide prior to engaging in any such
activities, | agree that ADP may also provide a copy of this Agreement or a
description of its terms to any Client, subsequent employer, or other third party at
any tlme ag it deems necessary to protect its interests, and I agree to indemnify
ADP against any claims and hold ADP harmless from any Josses, costs, fees,
expenses, and damages atising cut of my failure to comply with this paragraph.

* % *

10, Survival, All non-competition, non-solicitation, non-disclosure and non-use,
non-rectruiting, intellectual property, and Agreement disclosure obligations under
paragraphs three (3) through seven (7) of this Agreement shall survive the
voluntary or involuntary termination of my employment for any reason and with
ot without cause, and no dispute regarding any other provisions of this Agreement

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or regarding my employment or the termination of my employment shall prevent
the operation and enforcement of these obligations,

11. Relief, Remedies, and Enforcement, | acknowledge that ADP is engaged in
a highly competitive business, and the covenants and restrictions contained in this
Agreement, inchiding the geographic and temporal restrictions, are reasonably
designed to protect ADP’s legitimate business interests, including ADP goodwill
and client relations, Confidential Information and trade secrets, and the
specialized skills and knowledge gained by me and ADP’s other employees
during our employment, I acknowledge and agree that a breach of any provision
of this Agreement by me will cause serious and ineparable damage to ADP that
will be difficult to quantify and for which a remedy at law for monetary damages
alone may not be adequate, Accordingly, I agree that if ADP should bring an
action to enforce its rights under this Agreement and ADP establishes that 1 have
breached or threatened to breach any of my obligations-under this Agreement,
AD? shall be entitled to injunctive relief. I also agtee that nothing in this
Agreement shall be construed to prohibit ADP from pursuing any and all other
legal or equitable remedies available to it for breach of any of the provisions of
this Agreement, including the disgorgement of any profits, commissions, or fees
realized by me, any subsequent employers, any business owned or operated by
me, or any of my agents, heirs, or assigns, I agree that if ADP substantially
prevails in any litigation arising out of or relating to this Agreement (including,
without limitation, paragraph nine (9) above), ADP shall be entitled to recovery of
its reasonable attorneys’ fees and associated costs, in addition to any other relief
mentioned above. I also agree that that the knowledge, skills, and abilities I
possess at the time of commencement of my employment are sufficient to permit
me to earn a livelihood satisfactory to me without violating any provision of
paragraphs three (3) through seven (7) above, for example, by using such
knowledge, skills, and abilities, or some of them, in the service of business that is
not competitive with ADP.

12, Tolling. The restricted time periods in paragraphs three (3) through six (6)
above shail be tolled during any time period that I am in violation of such
covenants, as determined by a court of competent jurisdiction, so that ADP may
realize the full benefit of its bargain. This tolling shall include any time period
duting which litigation is pending, but during which I have continued to violate
such protective covenants abd a court has declined to enjoin such conduct or |
have failed to comply with any such injunction.

13, Entire Agreement and Validity of Terms. | agree thet 1 do not rely, and
have not relied, upon any representation ot statement not set forth herein by ADP
or any of ADP’s agents, representatives, or attorneys, and that this Agreement
may be changed only by a subsequent agreement in writing signed by both
parties, I understand that I may have an existing agreement(s) with ADP, through
acquisition of a prior employer or otherwise, that may include the same or similar
covenants as those in this Agreement, and acknowledge that this Agreement is

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meant to supplement any such agreement(s) such that the covenants in the
agreements that provide ADP with the preatest protection enforceable under
applicable Jaw shall control, and that the parties do not intend to create any
ambiguity or conflict through the execution of this Agreement that would release
me from the obligations I have assumed under the protective covenants in any of
these agreements,

14, Electronic Signature, I agree that ADP may enforce this Agreement with a
copy for which I have provided an electronic signature,

* * i

17, Legal Counsel, I agree that I have read this Agreement before signing it,
understand its terms, and that ] have had the opportunity to have legal counsel
teview this agreement, prior to signing it, and I acknowledge that I have not been

forced or coerced in any rnanner to sign this Agreement and do so of ny own free

will,

(See Exhibit F, 4] 3-4, 6-7, 10-14, 17).

23, Amundson reaffirmed the same obligations set forth above when he received
another restricted stock award and, in return, executed the same restrictive covenant agreement
on or ebout September 2, 2014. (See the “2014 Restrictive Covenant Agreement,” attached as
Exhibit G) (the 2009 Restrictive Covenant Agreement; 2010 Restrictive Covenant Agreement,
2011 Restrictive Covenant Agreement, 2012 Restrictive Covenant Agreement, 2013 Restrictive

Covenant Agreement, and 2014 Restrictive Covenant Agreement are collectively referred to as

the “Restrictive Covenant Agreements”),

Training, Customer Contact, and Information
Proyided to Amundson by ADP

24, ADP provided Amundson with specialized training unique to ADP throughout his
employment at ADP,

25, While employed at ADP, Amundson had substantial and direct contact with
ADP’s prospective and current clients. Such contact included regular meetings, telephone

conversations regarding clients’ existing business with ADP, and meetings with other ADP

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employees regarding client needs and prospective opportunities, Amundson also met and spoke
regularly to prospective clients regarding services ADP could provide to them. Further,
Amundson had substantial and direct contact with ADP’s marketing partners.

26. Throughout the course of his employment with ADP, Amundson also had access
to and possession of, and used on a regular basis, ADP’s confidential, proprictary, and trade
secret information. Such information includes, but is not limited to, ADP’s confidential business
methods, procedures, pricing, and marketing strategy; client information, including the names,
addresses, preferences, and needs of ADP clients; information regarding bona fide prospective
clients, vendors, and strategies: information regarding the terms of clients’ contracts; marketing
pariner information, including the names, addresses, preferences, and needs of ADP’s marketing
partners; and employee information, including but not limited to sale information, and
compensation plan and performance information, as well as other proprietary know-how and
confidences of ADP and its businesses (colleotively, the “Proprietary Information”),

27, ‘The Proprietary Information derives independent economic value from not being
generally known to and not being readily ascertainable through proper means by competitors or
others who can obtain economic value from its disclosure or use,

28. The Proprietary Information is closely guarded by ADP. ADP entrusted
Proprietary Information to Amundson pursuant to and in relignee upon the Sales Representative
Agreement and Restrictive Covenant Agreements, ADP made Proprietary Information known to
Amundson to enable him to effectively carry out his responsibilities on behalf of ADP,

29, ADP. has taken reasonable steps io maintain the secrecy of its Proprictary
Information, Such efforts include, among other things, requiring employees to enter into

confidentiality and restrictive covenant agreements such as the numerous ones entered into by

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Amundson, ADP also, among other things, provides employees with access to Proprietary
Information on a need-to-know basis, requires security and password protection on its work
locations and systems, and reminds and trains its employees of the sensitive nature of this
information,
Amundson’s Wrongful Conduct

30, Amundson has breached the Sales Representative Agreement and the Restrictive
Covenant Agreements, as well as his duty of loyalty and other legal obligations to ADP.

31, On or about September 3, 2015, -Amundson. notified ADP that he would be
voluntarily separating his employment from ADP, a

32. ADP has learned that, in September 2015, Amundson accepted a position in the
greater Minneapolis-St. Paul area as Strategic Account Manager at The Ultimate Software
Group, Inc. (““USG”) — a direct competitor of ADP’s. (See Amundson’s LinkedIn Page, attached
as Exhibit 8).

33. USG states that it “unites all aspects of HR, payroll, and HR talent management.”
USG also states that it provides services “with comprehensive capabilities and simplicity of use
to make your life easier, We give you tools to manage every workforce need-—to recruit and
retain a high-performing workforce, You get HR, payroll, and talent management in a single
solution that seamlessly connects people globally with the information and resources they need.
to work more effectively,” (See USG About Us Page and Human Capital Management Solutions
Page, attached as Exhibit J).

34, While employed at ADP, Amundson was responsible for selling and managing a

sales staff that was responsible for selling the same type of services that USG sells.

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35, Upon information and belief, in his position as Strategic Account Manager at
USG, Amundson is performing the same or substantially similar job functions as those he
performed on behalf of ADP in the same territory, Amundson’s etnployment at USG is
forbidden by his non-compete obligations set forth in the Restrictive Covenant Agreements, (See
Exhibits B-E, {1; Exhibits F—G, 3).

36, Because Amundson is performing the same job functions on behalf of USG as he
did on behalf of ADP in the same sales territory, upon information and belief, Amundson has and

- continues to solicit business from ADP’s current and prospective clients, business partners, and
vendors. Such conduct constitutes.a violation of the Sales Reptesentative Agreement and the
Restrictive Covenant Agreements, (See Exhibit A, {4 Exhibits B -- E, 93; Exhibits F ~ G,
§4¢2)-(0)).

37, Further, because Amundson is performing the same job fimetions on behalf of
USG as be did on behalf of ADP in the same sales territory, upon information and belief,
Amundson has snd continues to or Inevitably will wrongfully use and disclose ADP’s
Proprietary Information for the benefit of USG and to the detriment of ADP, Such conduct
constitutes a viclation of the Sales Representative Agreement and the Restrictive Covenant
Agreements. (See Exhibit A, | 4; Exhibits B--E, ¢2; Exhibits F — G, § 6).

38. Based upon Amundson’s conduct in violation of the Sales Representative
Agreement and the Restrictive Covenant Agreements, ADP sent Amundgon a letter dated
September 10, 2015 in which ADP outlined Amundson's various violations, (See the “Adequate
Assurances Letter,” attached as Exhibit J). ADP also informed Amundson of its desire to not
file a lawsuit, but that ADP would be forced to protect its interests by enjoining Amundson’s

improper conduct if he failed to provide ADP with adequate assurances that he would refrain

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from continuing to engage in conduct explicitly prohiblled by the Sales Representative
Agreement and the Restrictive Covenant Agreements. ADP also demanded that Amundson
provide ADP with information related to his employment at USG, as Amundson was required to
do before accepting a position with a direct competitor, like USG. (See Exhibit J), In the
Adequate Assurances Letter, ADP also instructed Amundson that if he failed to provide ADP
with the assurances and information requested by September 25, 2015, ADP must assume that
Amuidson intends to continue to work in violation of the Sales Representative Agreement and
the Restrictive Covenant Agreements, -.

39, Amundson did not respond to ADP’s Adequate Assurances Letter, ADP therefore
was forced to file this lawsuit to protect its rights.

Irreparable Harm to ADP

40, Amundson’s conduct is unfairly harming ADP’s business. The harm is
irreparable,

41, If Amundson’s conduct is not enjoined, Amundson will continue to impermissibly
compete and to disclose and use ADP’s Proprietary Information to ADP's competitive
disadvantage. ADP will lose clients and prospective clients, and also stands to lose employees,
vendors, and marketing partners. Furthermore, ADP will loge goodwill and the referral business
of its clients and marketing partners, as well as revenues in an amount that cannot be readily
ascertained,

42, Asa direct result of Amundson’s actions, ADP has lost, and will continue to lose,
the value of its Proprietary Information. Such information was developed and maintained at

great expense and effort on the part of ADP and belongs to ADP, The ADP proprietary and

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trade secret information that Amundson obtained and learned while employed at ADP has aided
and will continue to aid Amundson in his employment with USG, a direct competitor of ADP,

43, Unless enjoined, Amundson will continve to breach the Sales Representative
Agreement, the Restrictive Covenant Agreements, his loyalty and legal duties and obligations by
working at USG, disclosing ADP’s confidential and proprietary information, and misusing
ADP’s confidential and proprietary information to his and USG's advantage and to the
competitive disadvantage of ADP,

44, If Amundson is not_immediataly barred from violating the Sales Representative
Agreement and Restrictive Covenant Agreements and from using and disclosing ADP's
confidential and Proprietary Information, ADP will continue to suffer irreparable harm, ADP
lacks an adequate remedy at law to address the harm that it js suffering as a result of
Amundson’s actions, Indeed, Amundson agreed that any violation of the Sales Representative
Agreement and Restrictive Covenant Agreements would irreparably harm ADP and therefore
would entitle ADP to injunctive relief to prevent further damage to ADP, (See Exhibit A, q 4(e);
Exhibits B - If, 7 6; Exhibits F - G, | 11).

45. Due to Amundson’s diyulgence and/or inevitable divulgence of Proprietary
Information, as well as the loss of ADP’s competitive edge, client goodwill and unfair
competition, ADP is entitled to injunctive relief barring Amundson from violating his
nondisclosure and non-solicitation obligations and from continuing to unfairly compete against
ADP and wrongfully use and disclose its confidential, proprietary, and trade secret information,
as set forth more fully below. ADP is also entitled to damages, including lost profits, interest,

costs, and atiorneys’ fees,

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46. By ignoring the clear and irrefutable restrictive covenants contained in the seven
(7) different agreements Amundson executed and by ignoring ADP’s Adequate Assurances
Letter, Amundson’s various and continuous breaches of the Sales Representative Apreament and
Restrictive Covenant Agreements constitutes the type of willful, fraudulent, and malicious
conduct that warrants punitive damages,

Count I
Breach of Contract

47, The preceding paragraphs are re-alleged and incorporated by reference,

48, Amundson yoluntarily entered into the Sales: Representative Agreement and the
Restrictive Coyenant Agreements with ADP,

49, The Sales Representative Agreement and the Restrictive Covenant Agreements
are each valid, binding, and enforceable contracts.

50, The Sales Representative Agreement and the Restrictive Covenant Agreements
are each supported by adequate, legal consideration.

51. ADP fully performed as required under the Sales Representative Agreement and
Resitictive Covenant Agreements,

52, Amundson breached, and will inevitably continue te breach, the Sales
Representative Agreement and Restrictive Covenant Agreements by engaging in the conduct
described herein, including working for a competitor of ADP In the same or similar capacity,
soliciting ADP's clients and prospective clients, vendors, and marketing and business partners,
wrongfally using and disclosing ADP’s confidential, proprietary, and trade seoret information,
and wrongfully obtaining or retaining ADP’s confidential, proprietary, and trade secret electronic
documents,

53. Asaresult of Amundson’s breaches, ADP has suffered damages.

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54. As a result of Amundson’s breaches, ADP has suffered irreparable injury, and
ADP imminently will continue to suffer irreparable injury for which there is no adequate remedy
at law.

55. ADP is entitled to damages, costs, and disbursements incurred in this ection,
including attorneys’ fees, and to injunctive relief against further breaches of the Sales
Representative Agreement and the Restrictive Covenant Agreements,

Count I

Breach of Duty of Loyalty
56. The preceding paragraphs are re-alleged and incorporated by reference,

37, As an employee of ADP, Amundson owed his employer an undivided duty of
loyalty including, but not limited to, the duty to advance the interests of ADP, the duty to
preserve ADP’s Proprietary Information and the duty not to use any of ADP’s Proprietary
Information in any way adverse to ADP's interests.

58. Following his separation, Amundson continues to owe a duty of loyalty to ADP
not to make use of its confidential and Proprietary Information,

59. Amundson breached his duty of loyalty to ADP through his use and disclosure of
ADP’s Proprietary Information, and through his work for a direct competitor in contravention of
the Sales Representative Agreement and the Restrictive Covenant Agreements,

60. | Amundson’s breaches of the Sales Representative Agreernent and the Restrictive
Covenant Agreements have wrongfully benefitted both Amundson and USG, which, in turn,
have caused ADP to suffer damages. .

61. As a result of Amundson’s breaches, ADP has suffered irrepatable injury, and
ADP will imminently suffer further irreparable injury for which there is no adequate remedy at

law,

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|

62, ADP is entitled to damages, costs and injunctive relief against further breaches of
the Sales Representative Agreement and the Restrictive Covenant Agreements by Amundson,

Count HI
Misappropriation of Trade Secrets

63. The preceding paragraphs are re-alleged and incorporated by reference.

64. Amundson acquired ADP’s confidential and Proprietary Information by improper
means,

65, Amundson has used and disclosed, or will inevitably use and/or disclose, ADP’s
confidential and Proprietary Information without authorization or consent from ADP,

66. The confidential and Propriciary Information wrongfully disclosed, or that will
inevitably be used and/or disclosed, by Anrundson constitutes trade secret information that is
owned by ADP. Such information derives independent economic value, actual or potential, from
not being generally known to and not being readily ascertainable by proper means by other
persons who can obtain economic value from its disclosure or use, and also because ADP has
undertaken reasonable efforts under the circumstances to ensure and maintain the secrecy of such
information,

67, Asa result of Amundson’s use and disclosure, or inevitable use and/or disclose,
of ADP’s trades secret information, ADP has suffered damages.

68. Asa result of Amundson’s use and disclosure, or inevitable use and/or disclose,
of ADP's trade secret information, ADP has suffered irreparable injury and there is immediate
and imminent danger that ADP will continue to suffer irreparable injury for which there is no

adequate remedy at law.

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69. ADP is entitled to injunctive relief against further use and disclosure, ot inevitable

use and/or disclose, of its trade secrets by Amundson, damages, costs, and reasonable attorneys’

fees.
Count IY
Unfair Competition

70. The preceding paragraphs are re-alleged and incorporated by reference,

71. Amundson’s aforementioned unlawful, unfaix, and frandulent behavior constitutes
unfair competition.

72.  Amundson’s conduct was undertaken with the intent to interfere with and disrupt
ADP’s business.

73.  Amundson’s acts were resulting and continue to result in Amundson’s and USG’s
wrongfully procured competitive advantage to the competitive disadvantage of ADP,

74, Atmundson’s actions are intentional, malicious, and unjustified in law.

75, As a proximate result of Amundson’s actions and conduct amounting to unfair
competition, ADP has been and will continue to be irreparably injured, including, but not limited
to, the loss of its competitive edge, client goodwill, confidential information and trade secrets,

76. Unless restrained preliminarily and permanently, Amundson will continue to
violate ADP’s rights through his unfair competition. Accordingly, an injunction restraining and
enjeining Amundson from continuing his actions are the only remedies that will afford ADP
meaningful relief,

77. Duete Amundson’s unfair competition, the misuse and disclosure of confidential
information and trade secrets, as well as loss of its competitive edge, client goodwill and unfair
competition, ADP is entifled to injunctive relief as well as damages, including, but not Hmited to,

lost profits, inclusive of interest, costs and attorneys’ fees.

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REQUEST FOR RELIEF
WHEREFORK, ADP respectfully requests;
A That this Court enter an Order restraining and enjoining Amundson from directly
or indirectly;

Q Working or performing any services for any competitor of ADP,
including, without limitation, The Ultimate Software Group, Inc., for a
period of twelve (12) months from the date of entry of the injunctive relief
order;

ci) Soliciting, contacting, calling upon, communicating with or attempting to
“-:..  egmmunicate with any ADP client, prospective client, vendor, marketing ...
‘~:~ partner, or business partner, for a period of twelve (12) months from the
date of entry of the injunctive relief order;

{iii} Soliciting or being involved in the reoruitment or hire of any employee of
ADP for a period of twelve (12) months from the date of entry of the
injunctive relief order;

(iv) Violating the terms and conditions of the Sales Representative Agreement
and Restrictive Covenant Agreements with ADP;

(vy) Using or disclosing at any time in the future, ADP’s confidential,
proprietary, or trade secret business information or property;

(vi) Interfering in any way with any current contract, client relationship,
prospective client relationship, or marketing partner relutionship of ADP;
and

(vil) Breaching any loyalty obligation to ADP, including, but not limited to,
appropriating any business opportunity of ADP, engaging in deceptive
acts or statements with regard to ADP’s abilities, experiences, and
personnel, and from otherwise attempting to pain unfair advantage against
ADP,

B, That Amundson be ordered to return all ADP property to ADP, including, but not
limited to, requests for proposal, requests for bid, client correspondence, meeting minutes, notes,

inarketing data, prospect meeting data, proposals, faxes, pricing contracts, contracts awarded,

marketing brochures, recommendations, including, but not limited to, vendor recommendations,

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marketing database, marketing plans, costs, client lists, prospect Lists, marketing partner
information, client contact information, prospect client contact information, competitive bid
information, strategic planning information, alliance relationships, employee lists, client
information, internal strengths and weakness information, marketing plans, business plans,
project costs and all other confidential, proprietary or trade secret information, confidential client
and vendor information and confidential and proprietary marketing partner information, in any
form including electronic and hard copy form:

Cc That Amundson be- restrained from destroying or disposing of any paper
documents in his possession, custody or control, or deleting anything from any computers to
which he has access, including smartphones, PDAs or any other electronic storage devices,
including e-mail, databases, and any other electronically stored data that relate to, evidence ot
concern any of the issues invalved in this litigation and that Amundson immediately turn over all
of the electronic devices in his possession, custody or control for non-destructive imaging to
preserve the contents of these electronic devices;,

D, That after the trial of this action, a Permanent Injunction be issued; and

EK, That ADP be granted as relief money damages, including exemplary and punitive
damages, lost profits, all other appropriate damages, as well as all interest, costs and
disbursements of this actlon, including attorneys’ fees, as specifically provided for and agreed
upon in the Saies Representative Agreement and Restrictive Covenant Agreements, and such

other and further relief and this Court may deem just and proper.

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Dated this 10th day of December 2015

(585160533

GENOVA BURNS LLC

Hattis §, Freier, Esq. -013412006
HF reier@genovaburns.com

494 Broad Street

Newark, New Jersey 07102

TEL: (973) 533-0777

FAX: (973) 533-1112

Attorneys for Plaintiff, ADP, LLC

 

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DESIGNATION OF TRIAL COUNSEL
PLEASE TAKE NOTICE that Harris 8. Freier, Esq, of Genova Burns LLC, one of the

attorneys for ADP, LLC, is hereby designated as trial counsel for ADP, LLC pursuant to R. 4:25-

4,

GENOVA BURNS LLC.
One of the Attorneys for ~

Plaintiff, ADP, 1 L£°
By:

HARRIS § FREIER-013412006

 

Dated: December 10, 2015

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CERTIRICATION UNDER R, 4:5-1

I certify that the matter in controversy is not the subject of any other action or arbilration

proceeding and that no other parties should be joined in this action.

GENOVA BURNS LLC
One of the Attorneys for
Plaintiff, ADP, LLC

   

 

By:

 

HARRIS §. FRETER-013412006

Dated: December 10, 2015

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Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15 .Page 27 of 66 PagelD:

R. 1:38-7(B} CERTIMICATION
I certify that confidential personal identifiers have been redacted from documents

submitted to the Court, and will be redacted from all decuments submitted in the future in

accordance with R.1:38-7(b).

GENOVA BURNS LLC
One of the Attorneys for
Plaintiff, ADP, LLC

oy. / PAW

HARRIS S. FRETE
NIU (2o?%

Dated: December 10, 2015

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and {ihe “Employes"}
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faptasenting the Company.

2, COMPENSATION, Empkiyee'a compensation as e Sales Reprasentabve of the Company is ag sat jorth ln the Salas
Compensation Plan which may be amended et gny tmo at ADP's discretion,

3, OTHER EMPLOYER BENEFITS, Empinyee shall be eligible to parucpate m any group health bonedis, te nauzsney,
atock purchsan, vacation and other employes benoit plens In eccardenca wilh the forms and conditions of those plans.

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known to Employne during tho course of Eiiptoyes's employmont with tio Company concoming the tdeniity or bush
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(2) During tha Nondoilteitetion Poriod, Employae will not, directly or Indiractly, hire, aollel, or encourage to
laave tho Company's eraploy any amployse nf tho Company, or aolielt, hire or contract with ony former omployoy of the
Company within one yosr itor the date euch penn ceases to bn an employes of the Company,

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and ful fo dire or pny provialong thereo! will couse iraperable injury 19 the Company, Aucordingly, the Gompany shall be
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f. AMENDMENTS: TERMINATION,
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§, PATENTS AND OTHER DEVELOPMENTS, Employee undommtands ond asknowiodges that the Company
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7, GOVERNING LAW. Thily Agreement shail ba conetrund and imarpreted In seoonieaca with tha Jews of tho Slate of New

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changed address witch mney bs plven In writing heronfise, All notices 4 tho Company chal Inclutie & copy to the Company st ong

9. SEPARABILITY, If any arovision of thie Agreement (including, dui not inte to, any provialan eee forth la Paragraphs 4
Sn 8 above), or eny portion thereof, ts hold to bo invalid or neroneably, the balance of the Agroemant Shad! romaty tn olfocl, sed ¥
uny provision 49 inapplicable 49 any person of ciccumstance It shell naverthaloss remain Sppiicabia lo oil other parsone ant

40. TRANSFER OF RMPLOYMENT, the pares recount that Emphyce may bo employed In officas of the Company
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oscure Heating their respective nahis, dies, of obkagtans hereunder, tha mamber of is Company by whigh Employes is omployed

11, HEADINGS, The headings In this Agmement are solely for convanlanca of retarenca end shell not atfed! thls

12, ACKNOWLEDGMENTS, Employao acknomadges thet the information is confidential and proprietary jnfontiaton
belonging ta the Company and thet tre use or disclosure of tha lnformption axcopl in connection with the Employos's employment wilh
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Automatic Data Pracessing, Inc. TO BE PREPAC AND
One ACP Boulevard SONEO IN DUPLICATE
Roseland, New Jarsay 07068

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polthars, of any of le cliente (including, but not imltad to, {) ADP's bustnase inblhods, procedures, prloing and marketing stricture
and aivalegy which are aot publicly avallable and whletp Fld tol feara from a public source, (i) ADP's source end object codes,
computer scraans, programa and forme. exparimental or rasaarctt work, mathods, prodasses, formulas, or drawinge, and (1H) the
Hames, addiesses ang busitess activities of ADP's current, formar and prospective clients, and/or AGP's and ADP's canTent,
former, ard prospdolive cllanty’ employees} teamed by ta at aay time during my employment with ADP,

(6) Upon ceasing to be an ADP employse, | shat inmediately retunt ail documents and poles (naluding ail caples thoreof}
of any and aff Information and materials belonging or relalad jo ADP (whathor of not such materats were prepared by ADP, mo or
another person} end whieh ere I my possesston or over whieh B exercise arly control,

{0}! agree thal my viiation of any provision of Paregroph t{a) of 1(b} above will coupe ureparable Injury to ADP,
Ascardiagly, ADF ahall ba ontliled, In seidalon io eny other dighte and remedios {( may have al jaw or in equity, to an Inlunciion
enjoinlay and rostralning ma from violating, or contiaulng {a violate, any buch proviston.

2. Funderstand and agras that ADP shall have exdlusive Fights lo anything related lo ADP's actual or prospective busines
vduch | conceive of work on whila employed by ADP, Accordingly: toy as
Ya) { shall promptly and fully disclose all ugh itams io ADP and will nol discigas such itemé ta any other person or gnlity

we (other than employees of ADP authorized to review euch information), witout ADP’s prlor consent:

(o} | shall mainiain on ADP's behall and survender to ADF upon ceasing ta be an ADP amployea all written records
regarding elf auah Heme;

{¢) | shall, but without personel expanse, fully oooperats wlth ADP and axecule ail pepers end pacfonn all acta requested
by ADP to satablish, contin of proteol is axctusive rights in ayoh Hama or to etable H to lranster legal tile 16 auch ferme, togelher
with any patents, copyrights, fademarks, service marks andior trade names thal tay be applied for and/or tpsuath

{@)} shal, bul without personal expense, provide such information ancl fru leslimeny aa ADP may request regarding such
jens Inckuding, vithoul Hrnltstion, fiams whiot | nether concalved nor worked on oui regarding which | have kKnowladye because of
my eniployment by ADP; and

(a) | horeby sesign fo ADP, He aucoessors ond assigns, exclusive Tight, Hie and interast in and to all such Hers Inciuding.
wihoul Hmiation, any patants, copyrights, trademarks, series marke and/or lrada names which hava been, or mpy be, ssuad,

3 (underalend and agree thal | am employed on an al-will baste. As an atavil employee, | understand and agree thal alther
ADP or { oan isrminate our amployment relationship al any lime for afly reason, with ar withoul advance notios and wih or withoul
caves, | understand and agree that, although over the course of my employment, other teams and condkiona af my employment
ray chenge, the af-wil term of my employment wil not change | ndarstand thal ao ong other than the Chief Bxecutlva Offleor of
AOP may enter inio any agrosment with ma contrary to the foregsing and thal any such contrary agreamant must be in vwerllng and
signed by the Chief Exeatntive Offlaar,

4, Ali notlons shell be sant to the pariles by certified of registered mull at the eddrosses eet forth herein, Allention, ti the casa
of ADP, Viea Prasidant, Human Rasourees, or to any changed addraas which ma ba givon tn wriiing hereafter. All notices to ADP
shail dlso include a copy lo AOP al One ADP Boulpvard, Roseland, Naw Jargay 07066, Attentlan: General Counsel,

elect, and ii any proviston la inapplicable to any person of clroumslthen p's Esoverthaleas temain applicable lo aif olor parscng
and circunistancas.

  

5, If any proviglon of thls Agresmant is hokd Io ba invalld ar ey @, ihe balance of this Agreemant shall ramaln in

Wong fru xf,
J ate}

_ Ragnatils aT Epigeay
pate: 15/24/04
ACCEPTED AND AGREED:

AUTOMATIC DATA PROCESSING, INC, Name of Emptoyoe: LHASE  Amdnpsent
ANT oF lypel
Address of Employee: /,5_ Wot 9 dl th hott’

James 8, Benson, Corportte Vice President tpnnt or type}

 

g7tat2-op} © 1992, 1990 Automatic Data Processing, tne,

 
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[Award Acceptance Document 3 of 3]

Shy
September 24, 20090

' Restrictive Covenant

in my position(s) as a Sules Compensated Asdocinte with Automatle Dats Processing, inc., ils subsidiaries
and affiliates (collectively “ADP”), | have access fo ADP's confidential information and trade secrets. | have
previously entered into a Sales Representative Agreement with ADP,

1 any interested in participating Is ADP's 2008 Omnlbus Award Plan (the “Pian"), In consideration of
being granted an award wider the Plan and for ether good and valuable consideration, 1] agree gs follows:

1. During the twelve-month period following the date | cease ta bo an employes of ADP for any
reason whatsoever (fhe “Non-Competition Period"), ] will not, within any territory 1 managed or to whieh I was
assigned or covered during the jast twelve months of my employment with ADP, directly or indlraotly, (1) beoome
employed by or be associated with in any capacity, or (il) portarm any work withla or on behalf of, any person,
corporation, partuership or olher entity whatsoever (a “Person") competing or potentially competing with ADP,

2. During and efter my employment by ADP, } will nat use, or disclose to any Perton any

confidential Information, trade secrets and proprietary Information of ADP, fis vendors, Heensors, marketing
partners or clients, learned by mo during my employment and/or any of the names and addresses of cllents of ADP,
Lacknowledge that 1 sin prohiblted from taking any confidential, proprietary or other materials or property of ADP
with me upon termination of my employment. Upon termination of my employment, | shall cetum all ADF
materlals (inefuding, whthout jinitution, all memoranda and notes contalning the names, addresses and needs of
AD? clients and bona fide prospective clients} in my possesuion or over which f exercise control, regardless of
whether such matorlals were prepared by ADP, me or a third party. .

4, During the Non-Competition Period, I shall not, on my bohalfor on behalfof any other
Person, direofly or indirectly, solic, contact, call upon, communicate with or atlempt to communtoate with sny
Person which was 6 client or bona fide prospeotlye allen! of ADP before the date 1 cease fo be an ADP employes
(the “Termination Dats") to sell (ileense or lease} any software or service competitive or potentially competitive
with any sofiware or gorvice sold, lisensed, leased, provided or under development by ADP during the two-year
perlod prior to the Termination Dete, provided that the restelotlons set forth in thle paragraph 3 shall only apply to
clients and bong fide prospectlys clients of businesses of ADP wlth which I was invalyed,

4, Burlog the Non-Competition Perlod, L will not, dlraotly or indireatly, hire, contract with,
softsit, or encourage to leave ADP’a eniploy any ADP employee, or hite of contract with any fotmer ADP employee
within one year after the date such person osages to be an ADP smiployes.

3. During my employment by ADP, I shall not accopt any podition (unless such position Is to
commence after my employment conses}, gratuities, compensation, reimbursement or Aasds, or thelr equivalent,
from any Person engaged in any business is which ADP ts engaged,

6. A violation of the foregoing covenants not to compete, not to disclose, not fo solicit and not
to hire will cause hreperable injury to ADP, ADP ahall bo entitled, in addition to any other rights and remedies It

may have af law or in equity, to an Infunctlon enfolning and restralning me from performing, and continuing In the
performance of, any sush vioiatlon.

7, understand and acknowledge thal ADP shall have the sole and exolusive rights to anything

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Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15 Page 32 of 66 PagelD: 35

relating (o its actunl or prospective busivess which { concelve or work on, elther in whole or in part, while employed
by ADP and thal oll such work praduet may be property of ADP as “works for hire” under federal copyright law and
may also constltute ADP confidential and proprietary Information, Accordingly, b

(a) will promptly and filly disofose all ssh items to ADP and will not disclose such items ta
ary other person or entity without ADP's prior consent;

{b) will malntala on ADP's behalf and surrender to ADP upon terntnation of my
employment appropriate weltten recards regarding atl such Items:

(e) will, but without personal expense, fully cooperate with ADP, execute all papers and
perform all acts requested by ADP to establish, confirm or protect ite exclustve rights In suoh {lems arto enable it to
transfer legal tile to such items, together with any patents that may be isstad;

(¢) will, bur without personal expense, provide such information and true testimony as ADP
may reqiiest regarding such Hema Including, without! limitation, Items which I neither concelyed nor worked on bul
regarding which J have knowledge bocause of my employment with ADP;

{e} hereby assign to ADP, it successors and assipne, exclusive right, title and Interest iy and
to all such tenis, Including any patents which have been or may be issued: and

(f} state thet only suoh items in whish | personaliy hold or claini on interest and which are
not subject to this Agreement sre listed on the Ownership Schedule attached hereta, The absence of an Ovmership
Schedule means that no such items exist,

8. My obligations under thls Agreement shail be binding upon me even if] manage, am
assigned or cover territory other than the territory 1 currently manage, am assigned or cover regardless of which
office(s) of ADP { am employed at or position(s) 7 hold. My obligations under this Agreement chall Inure to the
benefit of any successors or assigns of ADP. This Agreement supplements and dose not supersede any prior
agresment(s) on the subject matter addressed herein. ’

9, It any provision of thls Agreement ia invalld or unenforceable, the balance of thls Agreontent
shall remain tn effect. This Agreement shail be governed by, and constried in accordance with, the laws of'the State
of New Jersey, Any walver of any provision of this Agresment shall be valid only if set forth in an instrument in
waiting signed by ADF, Any walver of any provision shall not be construed aa a subsequent walver of the same
provision, or a waiver of any other provision, of this Agreement. | acknowledge that the terms of this Agreement are
reasonable and thet 1 have had a reasonable opportualty to consult with an atterncy before agreeing to the terms of
this Agreement.

After reviewing this document close this window to continue the grant acceptance process.

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[Award Acceptance Document 3 of 3]

 

Seplember 23, 2010

Rostrictive Covenant

In my position(s) as a Sales Compensated Assoolate with Automatic Data Proceselng, Inc., its subsldiartes
and affiliates {collectively “ADP), [ have access to ADP's confidential Information and trade secrets, | have
previously entered Into « Gales Representative Agreement with ADP,

Tam interested In participating in ADP*s 2008 Omulbus Award Plan (the “Plant, In consideration of
being gtattted an award uhder the Plan and for other good and valuable consideration, | agree as follows:

1. During the twetyo-month period following the date [ svase to be an employee of ADP for any
reason whatsoever {the “Non-Competition Porfad”), 1 will not, within any territory J managed of to which | wes
axsigned or covered during the last twelve months of my employment with ADP, directly or Indirectly, (1} become
employed by or be asacelated with in any capaelty, or (li) perform any work within or on behalf of, any person,
corporation, partnership or other ently whatsoever (a “Persany") competing of potentially competing with ADP.

2. During and after my employment by ADP, ! will not use, or disclose to any Person sny

confidential tnformation, trade seereta and proprictary Information of ADP, Its vendors, licensors, marketing
partners or clients, learned by me during my exiployment and/or any of the names and addresses of clients of ADP,
| acknowledge that Iam prohibited from taking any confidential, proprietary or other materials or property of ADP
with me upon termination of my employment, Upon lermiaation of my cmployment, 1 shall return all ADP
meteriais (Including, without imitetion, all memoranda snd notes containing the names, addresses and needs of
ADP ollents und bona fide prospootlye cllents) In my possession or over which | exercise control, regardless of
whethar such materists were prepared by ADP, me ora third party,

3. Durlag the Non-Competition Period, I shall not, on my behalfor on behalf of any other
Person, directly or Indirectly, solicit, contact, oall upon, communicate wht or attempt te communlente with any
Porson which was a olfent or bono fide prospeative olient of ADP before the date [ cease to be an ADP employee
the "Terninatlon Date™} to sell (Ilocnse or fonse) eny software or service competitive or potentially compelifive
with uny software or service sold, licensed, lousad, provided or under development by ADP during the bvo-year
period prior to the ‘Termitiation Date, provided that the restrictions set forth in this paragraph 3 shall only apply to
clients and bone fide prospectlye cllents of busiassses of ADP with which I was Involved,

4, During the Non-Compatition Parlod, | will not, directly or indirectly, hire, contract with,
solicit, of eneourngs to leave ADP*s employ any ADP employee, or hire or contract with any former ADP employes
within one year after the date such person ceases to be an ADP employee,

5. During my employment by ADP, 1 shall not accept any position (untess such posttion is to
commance after my employment ceases), graluttics, compensation, rolmbursement or funds, or thelr equivelent,
from any Person engaged in any business fy which ADP Is engaged.

6. A violatlon of the foregoing covenants not ta compete, not to disoloss, not to soliclt and not
to hive will cause irreparable injury to ADP, ADP shall be entitled, fa addition to any other Hghts and remedies it
may have af law or fn equity, te an Injunction esfolning and restealning me from performing, and continuing th the
performance of, any such violation.

7, Landessiand and aoknowledge that ADP shull have the sole and txolustye eights to anything

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relating to is actual or prospective business which [ concelve or work on, either Jn whole or In part, while employed
by ADP and that all such work product may be property of ADP as “works for hire” under federal copyright law ant
may also constitule ADP confidentlal and proprietary information, Accordingly, |:

{a} will prompély and fully disclose all such items to ADP and will not dlscloze auch item to
any other person of entity without ADP's prior consent;

(b) will malntala on ADP's behalf and surrender to ADP upon termination of my
einployment appropriate written records rogerding all such items;

(c} will, but without personal expense, flilly cocpprate with ADP, execute all pnpers and
perforin all cots requested by ADP to estabilsh, confirm or protect its exclusive rlahts in such items or to enable It (o
transfer legal {itle to puch items, together with any patents that may be (syed:

(d)_ will, but without personal expense, provide such information and true testimony as ADP
may request regarding such Hems Including, without Hmitailon, items which | neither conselved nor worked on but
rogarding which E have knowledge beoanso of my employment with ADP;

(oe) hereby assign to ADP, Itsuccessors und assigns, exclusive right, title and interest In and
to all such Items, including any patents whieh have been or may be jsaued: and

(A) state that only such {tems in which { personally hold or.clatin.an Interest and which are
hot subject to this Agreement are listed on the Ownership Schedule attached herete, ‘The absence of an Ownership
Schedule menns that to such items exist, oo

4. My obligations under this Agreement shall be binding upon mie even IFT manage, ant

assigned ot cover territory other than the terrltory | currently manage, am assigned or cover reperdiess of which
offise(s) of ADP | am employed at or position(s) [ hold. My obligations under this Agreerient shall Inure fo the
benefit of any successors or assigns of ADP. This Agreement supplements and doos nol suporseds any prior
agreement(s} on the subject matter addressed herein,

9. Tfany provision of this Agreemont is invalid or unenforceable, the balance of this Agrecment
shali remala ii effect, This Agreement shall be governed by, and construed in acoordance with, the laws ofthe State
of New Jersey, Any welver of any provision of this Agreement shall be vatid only if set forth in ex instrument In
writing signed by ADP. Any welver of eny provision shal! dot be construed as a aubsequent walver of the same
provislon, of a walver oP any other provision, of thls Agreemant, [ acknowledge that the terms of this Agreement are
reasonable and thet 1 have had a rossoneble opportunliy fo consult with an attorney before pgresing to the ters of
thts Agreement.

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[Award Acceptance Document 3 of 3]

 

: September 22, 20] |

Restricilve Covenant

{h my position(s) as o Seles Compensated Assoclate wlth Automatic Data Processing, Inc., its subsfdlaries
and affiliates (collectively “ADP"), T have access to ADP confidential Information and trade secrats, { have
previously entered Into a Sales Represeniative Agreement with ADP,

Tam interested In particlpatlng In ADP's 2008 Omnibus Award Pien (tho “Plan”), In consideration of
belng granted.on award under the Plan and for other good snd valiable consideratlon, 1 agree as follows: :

1, During the twelve-month period following the date [ cease to be an employee of ADP far uny
réasou whatsoever (the “Non-Compotition Period}, T will not, within aay territory 1 managed or to whioh 1 was
agslened or covered during the Inst twelve months of ny omployment with ADP, direstly or indirectly, @) become
omployed by or be sssoclated with in any capacity, or (i} perform any work witiin or an behulf of, Suny person,
corporation, partnership or other enthy whatsoever (a “Person”) competing or potentially competing with ADP.

2, Durlng and after my employment by ADP, { will not use, or disclose to any Person any

confidential information, trade scerets and proprictary infornsation of ADP, Ils vendors, Ucensors, marketing
parthers or cllents, lasrnod by me daring my employment and/or any of te names and addresses of ollents of ADP.
1 acknowledge that] am prohibited ftom taking any confidential, proprietery or other matertaly ot property of ADP
with ine upon termination of my employment. Upen termination of my employment, { shail retum at! ADP
materials (including, without Hmitaton, all memoranda and notes containing the names, addresses and nerds of
ADP olients and bona fide prospective clfents) In my possesston or over which I exercise control, ropnediess of
whether such materials were prepared by ADP, me or a third party,

a. During the Non-Competition Pertod, } shall not, on my behalf or on behalf ofany other
Persoi, directly or indirectly, solicit, vontect, call upon, communicate with oy attempt fo communicate with any
Person which was a client or bons fide prospeotive client of ADP before the date 1 cense to be an ADP employse
{the “Teptninatlon Date} to sell (llcenss of lease) any software or servios competitive or potentlally competilive
with any sofiware or service sold, tleensed, feased, provided or under development by ADP during the two-year
period prloy to the Termination Dato, provided that the reatrlotlong eet forth fn this paragraph 3 shall only apply to
cHiants and bone fide prospective offents of buslnegses of ADP with which | was {nvolved.

4, Durlng the NoneCompetition Pertod, I will not, directly or indirectly, hire, contract with,
solicit, or encourage to leave ADP's employ any ADP smplayco, of hire or cantrsot with any former ADP tmplayee
withhi one year aftor the date such person ceases to be an ADP anployee,

5. During iny employment by ADP, 1 shall not accept any position (unless such position is to
commence afier my employment cenges), gratultles, compengation, retmbucsement or funds, or thetr equivalent,
from any Person engaged lin any business in which ADP Is engaged.

6, A vlolatlen of the foregoing covenants nol to compete, nol to digcloge, nat to aolicit nud nat
to hire will cause lrreparable infury 10 ADP. ADP shal! be entitled, in addition to any other rights and remedies {1
may have at law or in equity, to an infanctfon enjoining and restraining me trom performing, and continuing tn the
performance of, any such violation.

7, landerstend and acknowledge that ADP shall have the sole and exclusiva Tights to anything

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Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15, Page 38 of 66 PagelD: 41

relating to lis actual or prospectlye business which T corvelve or work on, either In whole or In part, while employed
by ADP end that all such work produet may be property of ADP as “works for hire” under federat copyright law and
may alge constltie ADP confidantial and propristory information, Accordingly, I;

(a) will promptly and filly disclose all such items to ADP and will not disclose such {tens to
any olber person or entity without ADP's prlor consent;

(b} will maintain on ADP’s beltalf and surrender to ADP upen terminetion of my
eiiployment appropriate written records rogarding afl such items:

{o} will, but without personal expense, fully cooperate with ADP, execute alt papers and
perform alt acts requested by ADP to establish, confirm or protect its exclusive rights In such Items or to enable ftto
transfor legal tlie to such items, together with any patents that may be issued:

(4) will, but without personal expense, provide auel: information and true testhmony as ADP
may request regarding snoh items including, without lmitstion, items whlch I nelther concclved nor worked on but
regarding which | have knowledge booause of my smployment with ADP:

{e} hereby assign to ADP, i suocessors nnd assigns, exclusive right, tItle and interest in and
fo aff such lems, including any patents which have beon or may be issued: and

(f} state that only such items in whith F pergonally hold or claim an interestand which are
not subject to this Agreament are listed on the Ownershin Schedule attached horeto, ‘The absenbe of an Ownership
Schedule means that no such items exist,

8. My obilgatlons under thla Agreement shall be binding upon me even [ft manage, am
assigned or cover territory other than the tertitory E ourrently manage, am assigned or cover regardless of which
office(s) of ADP { am employed at or position(s) { hold. My obtigations under thia Agreoment shall Jnure to the
benefit of any successors or assigns of ADP, This Agrosment supplements and dogs not supersede any prior
Agroement(s) on the subject mattor addrassed herein.

9. Ifany proviston of this Agreement is Invatld or unenforceable, the balance of this Agreentent
shail remain it effect. This Agreement shall be governed by, and consinied in accordance with, ihe Jaws of the Stata
of New Jersey, Any walver of any provision of this Agreoment shall be vaild only if set forth [aan instrument in
writing algned by ADP, Any walver of any provision shal! not be construed ag a subsequent walver of the same
proviston, or a waiver of any other provision, of this Agreement, { acknowledge that the terms of this Agresmont are
reasonable and that ! have had « reasonable opportunity to consult with an attorney before agreaing to the ferms of
this Agreement.

After reviewing this document closs this window fo continue the grant acogptance procaas.

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Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15 Page 39 of 66 PagelD: 42

[Award Acceptance Document 3 of 3]

 

September 19, 2012
Rostrletlye Covenant

In my position(s) as n Sales Compensuted Assoclate with Aulomatic Data Processing, Inc., Its subsidiaries ond affitistes
(collectively “ADP"), | heave aconsa to AD P's contidential information and tmde secrets, | have previously enterad Into a Sates
Representative Agreement with ADP.

{ am interested In partiospating In ADP*s 2008 Omnlbys Award Pinn Gihe “Plan®), in consideration of befng granted hn
awverd rider the Pian and for other good and valugble consideration, | apres as follows: .
_: ‘1 Durlng the twolve-month perlod following the date 1 conse to ba an employee of AD? for any ronson whatsvever (the
“Non-Competition Period”), F will nat, within any iewrHory 1 managed ox to which J was assigned or savered during the last
bwalve mothe oFimy employment with ADP, directly ar indireotly, {]} bosome employed by of bs assuclated with in any
capaclty, or (i!) performs any work within or on behalf of, any povson, corporation, partership or other entity whatsoever (n
“Parson"} competing or patentinily competing with ADB,

2, During and after my employment by ADP, | will nol uss, or disclose to any Person any confidential tnformation,
(rode secrets and propristery Information of AD?, its vendors, licensors, marketing partners of ollents, fecrned by me during my
employment! and/or eny of the names and addresses of olfents of ADP, | acknowledge that 1 am proflblted fhom taking ray
confidential, propricary or other ninterials or property of ADP with mu upon termination of my enployment. Upon termination
of my employment, { shell return sil ADP runterlala (including, without timltation, all memoranda and notes cantnlaing the
names, addresses and geeds of ADP ollenis and bona fide prospective alfenta) ty my posseaston or over which | exercise control,
regertiless of whether such materials were prepared by ADP, mo or a third party.

3. During the Non-Comtpetition Period, | shall not, on my behalf ot on behalf of any other Person, directly or indirectly,
solicit, contact, cal] upon, communt¢ntc with or aitempt te communtente with any Peraun which was 8 ellent or boos fide
prospective ollent of ADP before the date t cosse to ba. an ADP enployee (the “Torminntion Date”} to sell (teense or bease} any
soilwate or sarvico competitive oy potentially competitive with any sofware or service sotd, licensed, leased, provided or wieder
development by ADP during the two-ysar period prior to the Terminatlon Date, provided thut the rexteletlons set forth in this
paragraph 3 shalt only apply to clients and bona fide prospective offents of buslnesses of ADP with which 1 was involved,

4, During the Non-Compatition Pertod, | wit not, direotly ot indirectly, hire, contract with, solicit, ar encourage to
leave ADP*s employ nny ADP omployea, or hire of contract with any former ADP employee within one year afer the data sual
person ceases te be an ADP employes,

5. During my employment by ADP, | shall not accops any position (unlees cuch position fz to commence aflar my
employment ceases), gratultles, campensation, reimbursement or funds, of thetr equivalent, from any Person engaged fn any
businear in which ADP Is engaged.

6. A violation of the foragolng cavenants aot to compete, not to disclose, not to solfcit and not to hire wl cause
irreparablo injury to ADP. ADP shall bs eotitled, In addition to any other rights and remedies tt roay have at law or in equity, to
an Injunction enjoining and rostralning me fiom performing, and continuing in the performances of, any such violation,

. 7 Luitderetind and acknowledge that ADP suall hays the solo and exclusive rights to anything relating to Hs actual or
prospective buginess which | cancelvs or work on, elther in whole or in part, while empfoyed by ADP and tharall such work
product may be property of ADP as “works for hive" under Poderal copyright law aud may also constitute ADP confidentin} and
proprietary information, Accordingly, |:

{a} will promptly and filly disclose ell such ema to ADP and wll} not disoloss such {tema to any other person or ently
withoat ADP's prior canzent;

(b} wif] maintain on ADP’s bebalfand surrender to ADP upon formiantion of my employment appropeints written
records regarding all auch tars:

MISB382 (09-12) C - US © 2022 Aulomntic Date Froggzsing, Ina
Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15 Page 40 of 66 PagelD: 43

(c} will, but withoul personal oxpense, filly cooperate with ADP, execute all papers and perform all nets requested by
AD? to establish, eonflem or protest its exclusive rights ty such Hem or to.ensble it to transfer fegn] ftte 10 stich items, logether
with any patents that may be issued;

(d}-will, but whthout personal exponse, provide suott Information and true iestinouy as ADP may roquast regardiug
such Herma Including, without Umftetion, Items whieh | nether conceved nor worked on but regarding whielt [ have knowledge
becouse of my employment wilh ADP;

{¢} hereby psslga to ADI, it successors and assigns, sxelusive right, litle and Interest 4 ned to all auch Here, Including
any patents wiloh have been of ntoy be fasued: and

(f} state that only such itents in which [ parsonally hold or elatit an interest end whieh ure not aulject to this Agrenrnent
are listed on the Ownership Schedule attacked herete, The shsonce of en Ownership Schedule moans that no such Heme exist,

8, My obligations under hts Agreement shall by binding upot me even ifl manages, am assigned or cover terliary
alher then the territory | currontly manage, am asalgned or cover regantless of which office(s) of ADP am employed at or
position(s} | hold. My obligations under this Agreement chal! inure to the benctt of any anecessors or ascigns of ADP, This
Agreement supplements and dous not suporacds any prior agreembnt(s) on the subjest matter addressed horeln.

9, WPany provision of his Agreement {s Invalld or unsnforoeable, the balunoc of this Agreement shall remain ta offael,
This Agresment shall b¢ governed by, and construed {a accordance with, the laws of the Stale of Now Jorsey, Any walver of any
provision of this Agrastient shall be valld only [feet forth in on Insteument in writtag signed by ADP, Any waiver of any
provision shail not be construed ar a subsequent waiver of the same provision, or a walver of eny other provision, of this
Agreement, | ucknowlodge thal the tarma of tlds Agreement are reasonable and that I have hed n reasonable opportunity to
consult with an attorney belbre agreeing to the terms of this Agreement,

After reviewlng this decument close this window te conthiaa the grant acceptance process.

MUESHI82 109.12)C -~ US 9 2032 Aivomatic Date Procossing, Ine

 
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{Award Acceptarice Document 3 of 3]

LS?

September 3, 2013

RESTRICTIVE COVENANT

1 am currently employed by Automatic Data Proceaslag, Inc., or cue of fts subsidiaries or affiileted companies
{ootlectively, “ADP"} as @ Sales Compensated Assaclate whe enjoys substantial compensation and benefits from
ADP, Including participation in Its 2008 Omalbus Award Plan, and as en ADP employes, ] have hed and wil! have
access fo ADP’s Confidential Infdrmetion, propriotary Information, and trade secrots about ADP's operstlons,
sysiems, techniques, software, and processes, Its Clients, Business Partners, Vendors, and othor unlque trade and
business methods, all of whieh are valuable easets of ADP that are developed at great effort and expenge to ADP. |

os also have hed ov will have significant contact with ADP's current and prospective Clients, Busitess Partners, and/or

: " Vendors in order to develop ADP*s goodwifl end ellent relations so that ! cer ‘Promote ADP's interests and
objectives, and understand that ADP has fuvested and will fnvest # significant amount of time and Tinanolal
resources fo develop my skills to agaist me In performing my Job duties for ADP,

1 understand that ADP is @ profitgenerating business operating In a highly competitive business environment and

that it has a valid interest in protecting lis valuable assets, Including its Confidentlal Information, proprietary
information and trade secrets, its goodwill and business rolationships with its Clients, Vendors, and employees, the
speoiulized tratning of Its employees, and | recognize that my usa of ADP's valuable assels, directly or lndireotly,

against or In competition with ADP, during and aftor my employment, wlll result in irreparable harm to ADP,
Accordingly, I understand that this Agreement Is moant to Hmit reasonably and fairly my competition during ,
employment and following the ond of my employment, and to defing the corresponding obligations between me and

ADP regarding: (£) unfair competition, (2) the solicitation of Clients for or on behalf of ADP's Sompetitors, (3} the
solisitatlon of ADP's employees, and (4) the treatment of ADP's propristary Information, Confidential Information,

and trade secrets,

NOW, THEREFORE, in consideration of my Initial or coniauing employment with ADP, ADP's disclosure to me
of its proprietary information, Confidential Information, and teade seoreis to allow me to perform nvy duties for
ADP, my Inolesion In ADP's 2008 Omnibus Award Plan, the mutual benefits conferred herein, and for other good
and valuable consideratlon (the recelpt and safficlenay of all of whioh I hereby acknowledge), | agree as follows:

1, Definitions,

a “Business of ADP” ADP is 4 global provider of (1) business outsourcing and human capital
management solutions, Incliding, without Lraltation, human resource, payroll, time, attendance and labor
management, pre-employment, lalont management, sompllance asd payment solutions, tax ond benefits and
tetlrentent administration soltitlans and employment adininistratlon autsourelag solutions, (il) practice management
and clectronic health records sofware to medical servioe providers and other third parties, and outsourced medical
billing solutions, and (11) technology based solutions and other products and servlees (Inoluding, without fimatton,
integrated dealer management systema, digital marketing solutions and other business management solutions) to
auto, truck, motoreyals, tuarine, reoreatlannl vehicle, heavy equipment, and other motor vehicle mantfkcturers,
distributors, and retailets, ADP also provides workers compensation and health Insurance In the United States and
Cenada through its Hocnsed Insurance agencies and oonsulling services rolating to Its business outsourelig and
humor capltel management solutions, ADP alse provides data-driven business intelllgence on issues In human
oapltal management, ornployment, and workforee trends,

b. "Basiness Partners" means any Individual, corporation, lmited lability company,
partnership, joint venture, assootation, or other entity, regerdiess of form, thet ls or bas been fn a conmerdlal or
business relationship with ADP (excluding Clients and Vendors), Including, without imitation, (2) referrat partners,
tenellers, brokers, distributors, llcensees, franchisoes and marketing partnere, (i) implementation, integration and

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Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15 Page 42 of 66 PagelD: 45

developrient partners, (iil) co-investors and Jolat yenture partners, and (Iv) any other individual or entity whose
product or servioss ADP purchases, acquires or licenses for use with, or redistribution to, a third party (inoluding
Clients),

Q “Cilenis* means any Individual, corporation, ilmbad linpility company, partnership, joint
venture, association, or other entity, regardless of form, or government entlly for whom ADP provided ar provides
products or services In conneotion with the Business of ADP or whom ADP has activaly solicited [n cormectlon with
tho Business of ADP.

d, “Contpetlag Business” meang spy individual (Including me), corporation, iimlted Habillty
company, partnorship, Joint venture, association, or other ently, regardless af form, that Is engaged ln any business
or enterprise that is the same gs, or substantially the same as, the Business of ADP for that part of the business it
whiok | have worked or to which I have been exposed during my employment with ADP (repardiess of whether |
worked only for a paticulsr segment of thet part of the business in which 1 worked—for example, businesr
segrnents based on the number of employees 4 Client has or a partloular class of business vsing an ADP produat or
serving),

6 “Confidentiat Information” means information end the compilation of information known
by mo because of my employment at ADF that Is created, compiled, or pethered by ADP or Its Agents and Is related
to the Business of ADP, that Is valuable to ADP, and which ADP endeavors to protect from disclosure or uso by Its
competitors und others who could benefit fram its usu, Assuming the foregoing criteria are mot, Confidential
information includes but Is nat limited to information about: ADP's oporations, products, and services; research and
development of ADP products and services; ADP's Intellectual property; Creative Works, including aif publications,
products, applications, processes, and software In any stags of developmont names und other fistings of current or
Prospootive Clietits, Business Partners, and Vendors (Including contsct information that miay he complied in
computer databases ihat are not owned or controlled by ADP such ay address books, porsonal digital assistants,
smatt phones, and social and bustnuss websites); proposaly made to current or prospective Cilents, Business
Partners, and Yendors or other Information contatvied in offers or proposals ta such Clients, Business Partnors, and
Vendors; the terms of any arrangements or agreements with Clients, Business Partners, and Vendors, Including the
tmounts paid for such services or how pricing wes developed by ADP, the implementation of Cllent-speolfic
projects, the Identity of Business Partners and Vendors, and Business Partner and Vendor pricing information, the
composition or description af future services that are or may be provided by ADP; ADP's financlal, marketing, and
sales Information; and technical expertise and know-how developed by ADP, including the unique manner in which
ADP conducts its business. Confidential Information shall also Inolude any information disclosed fo ADP by a third
party (lnchiding, without fintntlon, current or prospective Cllents, Business Partners, and Vendors) which |
understand that ADP ia reasonably obliged to treat as confidential, This definition of Confidentlal Informatlon
exeludos information thet is or becomes known or generally available tn the public domain other than through my
act or faliure to act. This deflittion of Confidential Information and the use of the term Confidential Infarmation in
this Agreement are not meant to ilmlt ADP’s dghts under applicable trade secrets laws, and ADP spevifically
reserves all of tts rights undor ell appilcable laws concerning trade secrets,

i. “Creative Waris" means any and all works of authorship including, for exampie, written
documents, spreadsheets, graphlos, designs, trademarks, service marks, algorithms, computer programs or code,
protocols, formulas, miask works, brochures, presentations, photographs, muais or compositions, manvuls, reports,
and compilations of various elements, whether or not patentable or registrable under copyright, trademark, or similar
domestic and international [nws.

Eh “Winterfal Businese Contact means contact that is intended to establish or strengthen a
business relatlonsh{p for ADP,

he “Territory” means the geopraphis erca where 1 worked, represented ADP, or had Materlat

Business Contact with ADP's Clicnis tn the two (2) yaar porlod preceding the termination of my employment with
ADP,

}41583§2 (09-13) © 201) Automatic Bata Procesemp, ine

 
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ke “Vendors” means any (Individual, corporation, Timiled Hability company, partnership, Jotnt
venture, assoclation, or other entity, regardless of form, or government entity thal supplies muterlals or serviogs to
ADP for inteynal use,

Z Dutlea and Bost Efforts. | agres to provide to ADF and its Clients services related to the Business of
ADP, as directed by ADF In ita sole diseretion, Durlng entployment, | agras to devote my Full tine and best efforts
to ADP, not to provide to ADP’s Clients or ADP's competitors the same or simllar services of products as those
provided to ADP other than on behalf of ADP, and not to engage in uny other employrient, consultant, or advisory
relationship that is the same as, similar to, or rotated to my dutles with ADP or fhe Business of ADP or that
otherwise creates a confilet of interest with ADP. 1 also agres that | am prohibited fiom eccessing any of ADP's
computer systems, servers, delves, or databases for any compelitive or oonflicting purpose and thal any authorizatlon
for such neces |x revoked and prohiblted by ADP once | engage In eny competitive or conflicting activities or take
any meterlal steps towards accomplishing any competitive or conflicting activities,

3, Non-Competition, | agree that during my einployment and for a perlod of twelve (1.2) months from the
voluntary or involuntary termination of niy employment for any reason and with or without cause, J will not, directly
ar indirectly, own, manage, operate, Join, control, be employed by or with, or partielpate dn any manner with a
Competing Business anywhers in the Territory where dolng so will require me to (1) provide the same or
substantlally shullar services fo a Competing Business as those which 1 provided to ADP while employed, or (i) we
or disclose ADP's trade secrets. However, after my voluntary ot Involuntary termination of my employmont for any
reason and with or without cause, nothing shell prevent me from owning, ag ait inactive investor, seourities of any
compeliter of ADP which fe tlsted on a national seourltles exchange,

4, Non-Saticitatton of nnd Non-Interferauce with Clicnts, Business Partners, and Vendors,

i Clients: 1 ageeo that during my employment and fora perlod of twelye (12) months followlng the
voluntary or involuntary termination of my employment for any reason and with or without cause, | will not, elther
on my own behalf or for any Competing Business, directly of Indirectly, sollelt, divert, appropriate, or accept any
buslness from, or attempt te solicit, divert, appropriate, or secept any bustiess from any Client for the purposos of
providing products or seryloes that are the same as or substantially elmilar to those provided in the Bustness of ADP,
for any Cllent: 1} whom ADP provides products or services in conneotion with the Bysiness of ADP: (1!) whom
ADP has provided products or services in connection with the Businese of ADP and with whom ADP reasonably
expeots bislhess within the two (2) yoor period following my termination of employment from ADP; (ID whom
ADP has actlyoly solicited In connection with the Business of ADP within the two (2} year period prlor to my
termination of employment from ADP; or (Iv) about whom I have any trade secret Information, I also ageee that |
will not wrongfully induse or encourage or attempt to wrongfully induos or encourage any Clients to cease dolng
business with ADP or materially alter thelr business relationship with ADP,

by Bustnogs Partnorss f agrec that ducing my employment and for a period of twelve (12) months
following the voluntary or Involuntary termination of my employment for any reason and with or without cause, I
will not, either on my own behalfor for any Competing Business, directly or indirectly ongage, contract with, sollelt,
divort, appropriate or accept any business from, or uitompt to engage, contract with, solicit, divert, appropriate or
accept any business from any Business Partner to provide to me or any Competing Business any produot or servic
that is (a} the samo as or substentlally similar to the product or service provided to ADP and wiloh ADP uses for,
uses for obtaining, or distributes to, its Cllonts or (b} specialized, customized or designed by the Buylness Partner for
ADP, This provision applles only to any Business Partnor: (i) whom ADP currently has a commerctal or business
relationship with ADP in connection with the Business of ADP: (II) whom ADP has had s commerctal or bustness
relationship in connestion with tha Business of ADP and with whom ADP reasonably oxpecis buslness withla the
two (2} year porlod following my terminetion of employment from ADP; (Uf whom ADP has aotlvely sollotted fora
commercial or business relationship in connectton with the Business of ADP within the two (2} year perled prior to
my termination of employment from ADP; or {iv} about whom | have any trade seoret Information, | also agres that
T will not wrongfully induce or encourage or attempt to wrongfully induce or encoursge any Business Partner to
cease dalng business with ADP or materially nlter thelr business relationship with ADP,

& Vendorst } agree that | will not wrongfully Induce or encaurage or attempt to wrongfully Induge
of encourage any Vendor to cease dolng business wih ADP or materially alter thelr business relationship with ADP.

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5, Non-Solieitation of Rmpleyees, | agres that during my employment with ADP and for a period of twelve
(12) months following the voluatary or tayoluntery termination of my employment for any reason und with or
without cause, I will not, directly or indirectly, hire, sollolt, recrult, or encourage to leave ADP, any current
employees of ADP or hire, solleit, reorult, or contract with employees who terminate thelr omployment with ADP
withia twelve (£2) months followlng my lerminntion date,

6 Non-Disclosure and Non-Use of Confidential Information and Trado Secrets. Durlng my smpleyment,
exogpt as authorized and required fo perform my dutles for ADP, and after the voluntary or involuntary termination
of my employment for any reason and with ot without eauso, | will not diselose, yse, reproduce, distribute, or
otherwise dissomlnute ADP*s Confidential Information or trade secrets or take any aotlon causing, or fall to take any
notion necassary, In order fo prevent any such information to jose Its charngter of cease to quatify ag Confidential
Information or a trade secret. [| agree to Inquire with ADP [f 1 have any questions about whether particular
Information |i Confidential information or a trade secret before using or disclosing such information. [also ngree to
immediately return to ADP ail property belonging t» ADP auch as keys, credit onrds, telephones, tools, equipmont,
computers, anid eleottonic storage devices, as well as all originals, coples, or other physical embodiinents of ADP's
Confidential Information or trade secrets (regardless of whether It is lu-puper, elactfonte, or other form}, including
any such information in eny programs, business forms, manuals, corespondenes, files, databases, or on compator
disks or any other storage medium, whether or aot owned or controlled by me or ADP (e.g, scctal and business
networking websites, web-based email servers, or cloud storage services), immediately upon termination of my
employment or upon any eariler request by ADP, and ] agree nol to keep or distribute any copies, eloatronic or
otherwise, of any of the foregoing, | also understand that ny obligations under this paragraph, ag well ag the other
covenants In this Agreemont, extend to my activities on the internet, including my use of business oriented social
networking sites such as Linkedin and Faeebook,

i Prior Agreemants and Disclosure of Agreement to Third Partles, | represent that 1 am not & party to
any agreement with any former employer or any other person or entity containing any non-disolosure, non-compete,
notl-solloltation, aon-reoruitment, Intellectual property assignment, of other covensnts that will affect my ability to
devote my full time and attention to the Business of ADP that has not slready been dieulosed to ADP in writing, {
also agree fo provide a copy of thir Agreement to any subsequent etnployer, person, or entity to whish | intend to
provide services that may confliot with any of my obligations In this Agreement: prlor to engaging lr any such
activities end to provide ADP in writing the name and address of any such employer, person, or entlty and a
description of the servicea.t Intend to provide prior to engaging In any such activitles, agres that ADP may alss
provide 8 copy of this Agreement or a description of Its terms to any Client, subsequent employer, or other third
pariy at any thme as It denis necessary fo protect Hs Interests, and | agree ta indemnity ADP agalost any claims and
hold ADF hareless from any losses, costs, feas, expenses, and damages arising out of my Failure to cotiply with thls
paragraph,

8, Sovorability and Reformation, | agree if any partioular paragraph, subparagraph, phrase, word, or other
portion of this Agreemont Is determined by an appropriate court to he invalid or unenforceable as written, it shall be
modified as necessary to be made valid or enforceable, and such modification ahall not affect the remaining

provisions of this Agreement, or If it cannot be modified to be made valid of enforceable, then it shall be severed

from this Agreement, and all remaining forma and provislons shall remain enforceable,

9, Choices of Law, Venue, and Jurisdiction, The Interpretation, validity, and enforcement of this Agracment
will be governed by the laws of‘ the State of Now Jorsey, without regard to any confllots of law prinelples thet
require the application of the law of another Jurisdiotion. { agree that aby action by me to challenge the
enforceability of this Agreement must be brought or {ftigated exchilvely tn the approprlate state or federal court
fovatod In the State of New Jersey, | also agree that any ection by ADP to enforce this Agreement, as well aa any
related disputes or {itization related do this Agreament, may, but do not tave to, be brought In the appropriate stato or
fedoral court located in the State of Now Jergey. | agree and consent to ihe personal jurisdiction and venue of the
federal or state courts of New Jersey for resolution of any disputes or litigation arising wnder or In connection with
this Agreement or eny challonge to this Agreement and waive any abjeotions or defenses to personal jurisdiction or
venue in any auch proceeding before any such cour,

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1, Survival, All non-competition, non-sollcltation, non-disclosure and aon-vse, non-recrulting, intellectual
property, and Agreemant disoloaure obfigatlons urider paragraphs three (3) through seven (7) of thia Agreement shall
survive the voluntary or {involuntary termination of my employmont for any reason and with or without sause, and
no dispute regarding ety olher provisions af this Agreetient or regarding my empinyment or the terminatlan of my
employment shail prevent the operation and enforcement of theas obligations,

1 Relief, Remedies, and Enforcement, 1 acknowledge that ADP is engaged in « highly competitive
buslness, and the covenants and restriottons oontalned in this Agreement, including the geographic and temporal
restrictions, are reasonably designed to protect ADE's legitimate business interests, including ADP goodwill and
client relations, Confidential information and trade secrets, and the spaclalized skills and knowledge gained by me
and ADP's other employees during our employment, | acknowledge and agree that a breach of any provision of this
Agreement by me will cause serlous and irreparable damage to ADP thal will be difficult to quantify und for which »
romedy at Inv for monetary damages alone may not be adequate, Avcordingly, I agree that [f ADP should bring an
action to enforce {is righta under this Agreement and ADP establishes thal T have breached or thraafened to breach
any of my obligations under this Agreement, ADP shall bo entitled to Injunctiys reliof, | also agroe that nothing in
this Agreement shall be construed fo prohlblt ADP from pursuing any and ell othor legal or aguitable remedies
avallabte to ft for breach of any of the proyistons of thls Agresmont, Ineluding the disgorgement of any profits,
cotntissions, or fees realized by me, any subsequent employers, any business owned or operated by me, or any of
my agents, helrs, or assigns. [agree that IF ADP substantially provails in any litigation arlaing out of or relating to
this Agreament (Inoluding, without [ntitation, paragraph alne (9} above), ADP shall be entitled to retovery of Is
reasonable atforneys’ fees and assoolated costs, {n additlon to any other rellef mentioned above. | also agree that that
the krowledge, skills, and ablilties 1 possess at the thne of commencement af my employment ate suffictent to
permit me io cam a livellhood satisfactory to me without violating any proviglon of paragraphs three (3) through
seven (7) above, for sxample, by using such knowledge, skills, and abilltles, or some of them, In the serviee of
business that Is not competitive with ADP,

1%, Tolilng. The rasirleted tho periods In paragraphs thres (3) througl: six (6) above shell be tolled during any |

time period thet I am in violation of such covengts, a4 determined by a court of competent jurtsdiction, so that ADP
may reailze the full benefit of Its bargain, This tolling shall Include any tlme perlod during which itgation is
pending, but durlng which { have continued to violate sucht protective covenanta and a court has declined to enjoln
such conduct or | have failed to comply with any such Injunction,

14, Entire Agreement and Validity of Terms. 1 agres that | do not rely, end have not relied, upon any
representation or statement not set forth horein by ADP or any of ADP’s agents, representatives, or alormeys, and
that this Agreement may be changed only by a subsequent agreement in wrltIng signed by both pares, [ understand
that | may have an exlatlig agrsament(s) with ADP, through acquisition of a prior sraployer or otherwise, that may
include the same or eintilar covenants fs those in thls Agreement, and acknowledge that this Agreement ls meant to
supplement any such agreomeni(s) such that the covenants in the agresmenis thet provide ADP pith the greatest
protection enforceable under appiloable iw shall control, and that te parties do not Intend to create any ambiguity
or conflict through the exeoutlon of this Agreement that would releasa me fron: the obligailons | have assumed
under the protective covenants In any of these spreeittents.

14, Electronic Signature, I agree that ADP may enforce this Agresment with a copy far which | have
provided an aiectronia signature, :

15, Asalgament nnd Sieceasorship, This Agreomont and ADP's rights and obligations hereunder may be
assigned by ADP and shel! Inuré to the benofit of gnd shall be enforceable by any such assignee, ns well as any of
ADP's successors In Interest, This Agresment aid my rights and obligations may not be assigned by me, but are
binding upon my heirs, administrators, executors, and personal reprasentatlyes,

16, Waiver, ‘The waiver by ADP of any breach of this Agreement by nie shall not be effeotive untess In
writlug signed by the President of ADP, and ue such walver with regards fo me or any other porgon under e strollar
agreement shail operate or be construed ay a walver of the same type of breach or any other breach on a subsequent
occasion by me or any other person or ontlty.

Mi58382 (09-13) @ 2013 Auiontaies Date Processing, ine
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i, Legal Counsel, [ agree that f have read this Agreement before signing li, understand its terms, and that t
have had the opportunity to have legal counsel reviow this agreement, priot to signing H, and T acknowledge that 1
have not been forsed or coerced In any manner to sign this Agreement and do so of my own fies will,

Aftur reviewing this docuient clase this window to continue the grant ecceptance process.

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Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15 Page 47 of 66 PagelD: 50

{Award Acceptance Document 2 of 2]

LSD

September 2, 2014

RESTRICTIVE COVENANT

T ahi currently employed by Automatic Data Processing, Ino. or one of iis subsidiaries of affillated companies
{ooliectively, “ADP") as a Sales Compensated Assoolate who enjoys substarthal compensation and benefits from
ADP, Including partleipation In {te 2008 Omalbus Award Plan, and es an ADP employes, [ have had and will have
necess 10 ADEs Confidential Information, proprietary information, and trade seorets about ADP's aperatlons,
ayaloms, techniques, software, atid processes, Ita Clients, Bustness Partnere, Vendors, and other unique trade and
business methods, all of which are valuable assets of ADP that are developed at great offovt and axponse to ADP, |
also have had or will heve significant coniact with ADP's current and prospeotlve Clients, Business Partnors, and/or
Vendors in order té develop AP's goodwill and olfent relations 20 that | can promate ADP's interests and
objentives, and 1 undéitand that ADP hes invested and will Invest a significant amount of time and financial
resources to develop my skills to assist me ln performing my Job duties for ADP,

| understand thet ADP fs a profit-generaling business operating in a highly competittve business environment and
that it has a valld interest {n protecting tz valuable assets, {noluding its Confidential Information, propriotery
information and trade seorets, Its goodwill and business relationships with its Cents, Vendors, and employes, the
specialized training of lis employees, and | recognize that my use of ADP*s valuable assets, directly or indireetly,
agains! of In competition with ADP, during and afier my employment, will result In irreparable harm fo ABP.
Accordingly, 1 understand thet this Agroement is meant to limlt rengonably end faldy my competition during
smptoyment and following the end of my employment, and to deffne the corresponding obligations between me and
ADP regarding: (1) unfair competition, (2) the solicitation of Clients for or on behalf of ADP's competitors, (3) the
solloitation of ADP's eniployess, and (4) the treatment of ADP's proprietary Information, Confidential Information,
and trade secrets,

NOW, THEREFORE, ln consideration of my inital or continuing employment with ADP, ADP's disclosure to mo
of Its proprietary Information, Confidentlal Information, and trade secrets to allow mo to perform my duties for
ADP, my inclusion In ADP’s 2008 Omnibus Award Plan, the mutual benefits conferred heretn, and for other good
and valuable consideration (the receipt and sufficiency of all of which | hereby acknowledge), | agree a9 follows:

I. Deflaitlons,

BR “Bualness of ADP” ADP ts a global provider of (1} business outsourcing and human capital
management solutions, Including, without Ilmitation, human resources, payroll, tine, attendance and labor
management, pre-eniployment, talent management, compliance and payment bolutions, tox and benefits and
retirement administration sofutlons and employment administration outsoutoing solutions, (Ii) practica management
and slactronlo health records software to medloal service providers and othor third parties, and outsourced medical
billing solutions, and (ili) technology based aclutlons and other products and services (including, without limitation,
Intograted dealer management systems, digital marketing golullons and other business management soluilons) to
auto, iruck, motorcycle, merine, recreational vehicle, heavy equipment, and other motor yehtols manutheturers,
distributors, and retailers. ADP also provides workers compansation and health Insurance ig the United Stgtes and
Canade through its Hoensed Insurance ogencles and consulting services relating 10 {ts business oulsourelng and
human capital inasngement solutions. ADP also provides data-driven business Intelilgence on issues in human
captial management, employment, and workforce trends,

b, “Buslness Partnars means ony Indlvidwel, corporation, thmlted liability oompony,
parinarshlp, Joint venture, assoelstion, or other entity, regardless of form, that is or hes been In a commerolal or
bustnesa relationship with ADP (excluding Cllents and Vendors), Including, without ilmitation, (!) referral partners,
reseliors, brokers, distributors, licensees, franchisves and marketing partners, (f1} Implementation, kitpgration and

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development partners, (iil} co-investors and joint venture pariners, and {lv} any other individual or entity whose

Henge or services ADP purchases, acqititas or licenses for use wlth, or redistribution to, a third party (heluding
Clients),

& “Cilents” means any Individual, corporation, tinilted Heblity company, partnership, joint
venture, association, or other entity, regardless of form, or government entity far whom ADP provided or provides
products or servicos in connestion with the Business of ADP of whom ADP haa activoly sollelted in connection with
the Business of ADP,

ad “Competing Business” means any Individual (Including me), corporation, Nintted Hability
company, partnership, joint vonture, assoclation, of other entity, regardless of form, that ls engsged fn any business
or enterprise that is the snine as, or sirbatantlally the same es, the Business of ADP for that part of the businegs in
whioh T have worked or io which J have beon exposed during my omployment with ADP (regardless of whether |
worked only for a partloular segment of that part of the busliess In whieh | worked—for example, business
segments based on the number of employers a Client has of a particular class of business using an ADP product or
service), .

& “Confidential Information”. means information and the compilation of {nformetion known
by me becaitse of my employment at ADP that is created, complled, or gathered by ADP ar Its agents and {s related
1o the Business of ADP, that Ir valuable (¢ ADP, and which ADP endeavors to protect from disclosure or uso by Its
competitors and ofhers who could benefit from Ite use. Assuming the foregolng crlterla are met, Confidentlal
Tuformation inchades but Is not limlted to information about; ADP's operations, products, und services: research and
development of ADP products and zervices; ADP*s intellectyal property; Creative Works, tnolteding all publloations,
producta, applications, processes, and software In any stage of development names and other listings of current of
prospective Clients, Business Partners, and Vendors (Including conteot Information that may be complied is
compiter datobases that are Not owned or controlled by ADP such as address books, personal digital aseletants,
smart phones, end sooial atid business websites); proposals made to current or prospective Cilents, Business
Partiers, and Vendors or other information contalned In offers or proposals to suol Clients, Business Partners, and
Voridors; the terms of any srrangemonts or egreements with Cilenis, Business Partners, and Vendors, Including the
amounts pald for such services or how prioing was developed by ADP, the implementation of Cllont-specific
projects, the identhy af Business Partners and Vendors, and Bugltess Pariner and Vendor pricing Information, the
composition or desoription of future servicas that are or may be previded by ADP; ADP’s financial, marketing, and
gales information; and technlosl expertise arid know-how developed by ADP, Inclading the unique manner in which
ADP conducts its buginess, Confidential [nformetion shall alto include any Information disclosed to ADP by a third
party (including, without lmitatlon, current or prospective Cilents, Business Partners, and Vendors) which |
understand thal ADP |e reasonably obliged to treai as confidential, This definition of Confidential Information
oxaludes information thet is or besomes known or generally avelleble In the pubilo domain other then through my
aot or thilure fo act, This definition of Confidential Information and the use of the term Confidential Informatlen in
this Agrecment are nol meant ta limit ADP's rights under apptloable trade secrets laws, and ADP speolfically
reacrves all of Its rights under alf applicable laws canveming trade seoreta.

f. "Creative Works" means any and ail works of suthorship Including, for example, written
documents, spreadsheats, graphics, designs, trademarks, service marks, algorithms, computer programe or code,
protocols, formulas, mask works, brochures, presentations, photographs, music of compositions, manuals, reports,
and compilations of various elements, whether or nat patentable or registrable under copyright, trademark, or similar
domestic and |nternational laws.

£ “Matertal Business Contact” means contact that is intended to establish or strengthen 9
business relationship for ADP,

h, “Territory” means the geographle aros whore | worked, represented ADP, or had Materia!
Business Contact with ADP?s Clients in the two (2) year perlod preceding the termination of my employment with
ADP.

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Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15 .Page 49 of 66 PagelD: 52

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L “Vendors” means any Individusl, corporation, limited llabHity company, partnership, Joint
venture, association, or other entity, regardless of form, of goverment entity that supplies materlals or services to
ADF for interaal use,

2, Dutles nud Best Efforts, | agree to provide ta ADP and its Clients services related to tha Buslness of
ADP, as directed by ADP in its sole discretion, During smploytoont, | agree to devote my fill time and best efforts
to ADP, not to provide to ADP's Cllents or ADP*s competitors the same or sknilar services or produots os those
provided to ADP other than on behalf of ADP, and not to engage In any other employment, onneultant, or advisory
relationship that fn the same as, similar to, or related to my duties with ADP or the Business of ADP or that
otherwise creates @ conflict of interest with ADP. | also agreo that } am prohltted from aocessing any of ADP*s
camputer systems, servers, drives, ar databases for any competitlye or conflicting purpose and that any suthorization
for such access is revoked and prohibited by ADP ones } engage In any competitive or confticting activites or take
any materlal stops towards accomplishing any competitive or conflicting notlvtttes.

3, Non-Competitlon, | agree that during my employment and for a period of twelve (12) months from the
voluntary or Involuntary terminatlon of my employment for any reason and with or without oanse, | wEH not, directly
or indirectly, own, manage, opereie, joln, control, be employed by or with;-or participate fn any manner with &
Competing Business anywhero In the Territory where dolng-so-will require me to (1) provide the same or
substantially similar services toa Competing Business aa thos which I provided to ADP while employed, or (il) use
or disclose ADP's trade scorats, Howsver, after my volentary oy lnveluntary termination of my employment for any
reason and with or without cause, nothing shall prevent me from owning, as an inagive investor, securities of any
compotitor of ADP which fs Hsted on 4 nelional securities exchange,

4, Now-Solleftation of and Non-Interference with CHents, Businese Partners, and Vendors.

th Clients: | ageee that during my employment and for a period of twelve (12} months following the
voluntary or involuntary termination of my employment for any reason and with or without cause, ] will not, either
on my own behalf or for any Competing Business, directly or Indirectly, solictt, divert, appropriate, or accopt any
business from, or attempt to eollolt, divert, appropriate, or accept any business from any Client for the purposes of
providing produots or services that are the same as or substantially simMer to those provided in the Business of ADP,
for any Client: (} whom ADP provides products ar seryices In conneotion with the Business of ADP: (1) whom
ADP has provided products or services jn connection with the Business of ADP and with whom ADP reasonably
expects business velthin the two (2) year porfad following my termination of employment fram ADP: (Hi) whom
ADP has aotively solloited in connsotion with the Business of ADP within the two (2) year perlod prior to my
termination of employment from ADP; or (lv) about whom U have say trade seoret Information, 1 glso agres thet }
wil not wrongfully Jnduce or encourage or attempt to wrongfully Induce or oncourege any Clients to cease doing
business with ADP or materially alter thelr business relationship with ADP,

b, Business Partners: | agree that ducing my employment and for a period of twalya (12) months
foliowing the yatuntery or Involuntary termination of my employment for any reason and with or without cause, |
wilt aot, elther on my own behalf or for aay Competing Business, directly or indirectly engage, contmot with, solicit,
divert, appropriate or accept any bustnees from, or altempt fo engage, contract with, solfcit, divert, appropriate or
accept any business from any Businesa Partner to provide to me or any Competing Buslness iny product or servile
thet 4s (a) the same as or substantially shnilay to the product or service provided to ADP and which ADP uses for,
uses for obtaining, or distributes to, its Cllents or (b) specialized, customized or destgned by the Business Partner for
ADP, ‘This provislon spplleg only to any Business Parfner: (7) whom ADP currently has # oommerolal or business
relationship with ADP In connection with the Business of ADP; (il) whom: ADP haa had a commerelal or business
relationship In connsotion with the Business of ADP and with whom ADP reasonably expects business within the
two (2) year potlod following my termination of employment trom ADP: (i) whom ADP hes actively soliolted for a
cormmerclel or business relatlonship in conneotlon with the Busiiess of ADP within tho two (2) year period prior to
my termination of employmont from ADP; or (ly) about whom f have any trade seorel Information. | olso agree that
I will not wrongtully Induce or encourage or attempt te wrongfully Induce or encourage any Business Partner to
ceese doing business with ADP or materially alter thelr business relatlonship with ADP,

& Vendors: { agres thet { will not wrongfully indueo or encourage oF atlempt {0 wrongfully induce
or encourage any Vendor to cease doltig business with ADP or materially alter their business relationship with ADP.

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Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15 Page 50 of 66 PagelD: 53

§, Non-Solteltation of Employees, | apres that during my omployatent with ADP and for a period of twelve
(£2) months folfowleg the voluntary er involuntary terminstion of my employment for any reasol and with or
without enuse, 1 will not, directly or indirestly, hire, solieil, recruit, ar encourage to Jeave ADP, any current
employeos of ADP or iilre, sollelt, recruit, or contrat with employees who terminate thelr employment with ADP
within twelve (12) months following my termination date,

6, Non-Disclosure and Non-Uso of Coniidentlai information and Trade Secrets, Daring my employment,
except as authorized and required (o parform my dutles for ADP, ond after (he voluntary or involuntary termination
of my employment for any reason and with or without couso, i will pot disclose, use, reproduce, distribute, or
otherwige dissemluate ADP's Confidential Information or trade secrets or take any action causlng, or fall to take ony
action necessary, In order to prevent any such Information to lose Its chetaoter or cense to quallfy as Confidentlal
Information or a trade secret, I agree to inquire with ADP Hl have any questions about whether partloular
information is Confidentlal information or e trade seoret before using or disclosing auch Information. Lalso REres to
Immediately return to ADP all property befonging to ADP such as keys, credit oards, telephones, tools, equipment,
computers, and eleotronta stonige devices, ay woll as all originals, coples, or other physical embodiments of ADP's

Confidential Information or trade secrets {regardless of whether it is in paper, electronic, or other form), kisluding ~~

any Buch Information in any programa, bualness forms, manuals, oorrespondense, files, dntabases, or on torpiter
disks or aay other storage medium, whether or not owned or controlled by me or ADP (e.g., social and businens
networking websites, web-based email servers, ar cloud storage services), Immediately upon termination of my
employment or upon any earller request by ADP, and { apres aot to keep or disteibute any coples, electronie or
otherwise, of any of the foregoing. I also understand that my obligations under this peragraph, a8 well as the other
covenants in this Agreomant, extend to my activities on the internet, Including my use of business orlented soclal
networking eites such ae LinkedIn and Pacabook,

i. Prlor Agreements and Disclosure of Agreement to Third Parties, T represent that] am nol a party fo
any agreement with any former employer or any other person or entity containing any non-disclosure, Ron-compete,
nosolicltation, now-recrultment, Intelloatuel property asslgnment, or other covenants thnt will affect pry ability to
devote nry full tine and sttention to the Business of ADP that has not already bon disclosed to ADP In writing, |
alsa agree to provide a copy of this Agreement to any subsequent employer, petson, or entity to which F Intend to
provide services that may confilet with ony of my obligations in this Agreament prior to engaging tn any such
activities and to provide ADP in writhg the nanve and address of any such employer, person, or entlty and a
description of the sorvices I intend to provide prior to engaging in any such activities, | ngree thet ADP may also
provide a copy of this Agreement or a descripiton of iis farms to ony Cilent, subsequent smployer, or othor third
party et any time as it deems necessary fo proteot fix interests, and | agree te indemnify ADP against any clalms and
hold ADP hermiless from any losses, costs, fess, expenses, and damages arising out of my failure to comply with this
paragraph,

R, Severnbilty and Reformation, § agree if any particular paragraph, subparagraph, phrase, word, or ather
portion of this Agreement fs determined by an appropriste ooutl to be invalid or unenforanable as written, it shall be
modified as necessary to be made yalid ot enforcenble, and such modification shal! not affect the remaining
provisions of this Agreement, or if it catmot ba modlffed to be made valid or enforceable, then II shal] be severed
from this Agresment, and ell remaining terms and provisions shall remaln enforceabia,

>, Chole of Law, Venue, and Jurisdiction. The Interpretation, valldity, and enforcement of thls Agreement
will be governed hy the laws of the Stats of New Jersey, without regard to any conflicts of few priteiptes that
require ihe application of the law of another jurisdiction, 1 agree that any action by me to challenge the
enforceabliity of this Agreement mast be brought or Iltigated exclusively In the appropriate state or federal court
jooated In the State of New Jersey. J also agree that any action by ADP to enfarce thls Agreement, as well ay any
rolated disputes or tigation related ta this Agreement, may, but do not have to, be brought far the appropriate state or
federai court fooated in the State of New Jersey. | agres and consont to the personel furisdiction and venue of the
fedoral or state courts of New Jersey for resolution of any disputes or Uitigation arising under or ia connection with
this Agresmen( or any challenge to thla Agreoment and walve any objepiions or defenaes to personal jurisdiction or
venye In any such proceeding before any such court,

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10, Sarvivel, Atl non-cdompelition, non-solfchation, non-disclosure and non-use, aor-recruiting, iniellestual
proporty, and Agreement disclosure obligations under paragraphs three (3) through seven (7) of thig Agreoment shall
survive the voluntary oy Involuntary termination of my employment for any reason and with or withaut cause, atid
ne dispute regarding any other provisions of thla Agreement or regarding my employment or the termination of my
employment shall prevent the operation snd enforcement of these ob)igatlona.

tL. Relief, Remedios, and Enforcement, 1 acknowledge that ADP ia engaged In 2 highly competitlye
business, and the covenqtts and restrictions oontalned In thls Agreement, including the geogmphile and tempornt
restrictions, are rensonably designed to protect ADP's legitimate bustness interests, including ADP goodwill and
client relations, Confidential Informatlon and trade secrets, acd the speclalized skills and knowledge galned by me
and ADF's other employees during our employment. I soknowledge and agree that a breach of any provision of this
Agreemem by me will cause serlous and irreparable damage to ADP that will be difficult to quantlfy and for whieh a
remedy at law for monciary damages alone may not be adequate, Accordingly, | agres that if ADP should bring an
action to enforce Ita rights under this Agreement and ADP establishas thet { have breached or threatened to branch
any of my obligalians under thls Agreement, ADP shall be entliled to Injunctlye relief, I also agree that nothing in

- this Agreement shail be construed to prohiblt ADP from pursuing any and all other legal or equitable remedies
available to it for breach of any of the provisions of thls Agreement, including the disgorgement of any profits,
commissions, or fees realized by me, any subsequent employers, any business owned or operated by me, or any of
my agents, helrs, or assigns, { agree that if ADP substentially prevails In any litigation arising out of or relating to
this Agreement (Including, without limitation, paragraph nine (9) above), ADP shall be entitled to recovery of tts
teasonable attomeys” fees and assoclated cnsis, in addition to any other rellof mentioned above. 1 also agree that that
the knowledge, skills, and abilities | possess af the tine of commencement of my employment ace sufficlent to
pormlt me to earn a livelllood setlafactory to me withovt violatlag any proylsion of paragraphs three (3} through
seven (7) above, for exaniple, by using such knowledge, akflis, and abilites, or some of them, In the service of
business that is not competitive with ADP,

12, Tolling, ‘Tho restricted time poriods In paragraphs three (3) through stx (6) nbove shall be tolled during any
Hine perlod thet ] am in violation of such covennnis, as determined by a court of competent jurisdiction, ao that ADP
may realize ihe fall bengflt of its bargain. Thls tolllng shall include any lime poriod durlng which Htigation is
pending, but during which 1 heve continued to violate such protective covenants and a court has declined to enjoin
suoh conduct ar J have falfed to comply with any such injunction.

1, Entire Agreement and Validity of Terms, 1 agree that | do sot rely, and have not relled, upon any
repressniation or statement not set forth herein by ADP or any of ADP's agenis, representatives, ar attorneys, and
that thls Agreoment may be changed only by a yubsequent agreement In writing signed by both partios, i understand
that | may have sn exlating agrecment{s) with ADP, through acquisition of a prior employer or otherwias, that, may
include the same ar similar covenants as those In tit Agreement, and acknowledge that this Agreement is meant fo
supplement any such agreenment(s) such that the covenants jn the agreements that provide ADP with the graatest
protestion enforceable undor applloable law shal! control, and that the pariles do not intend to oreate any ambiguity
or conflict through the execution of this Agroemert that would release mo fron the obligations | haye assumed
under the protective covanants tn any of these agreeinents,

14, Etectranic Signature, | agree that ADP may enforce this Agreemont with a copy foy which | have
provided en electronic siganture.

14, Asslgument nud Succestorship, This Agreement and ADP*s rights and obligations hereunder may be
assigned by ADP and shall Inure to the benefit of and shall be enforceable by any such assignee, as well as any of
ADP's successors in Interesi, This Agreement and my rights and obligatlons may not be assigned by me, but are
binding upon my heirs, administrators, exocutors, and personal representatives.

16, Waiver, The walver by ADP of any breach of this Agreement by me shall not be effective uniass in
writing algned by the President of ADP, and no such walver with regards to me or any other person ynder a similar
agreement shall operate or be consirasd aa a walver of the same type of breach of any other breach on a subsequent
cocaslon by me or any other person or entity,

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Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15 Page 52 of 66 PagelD: 55

17. Legat Counsel. | agree that | have read this Agreement before slant

e t ening It, understand Ils terms, and thet ¢
have had the opportunity to have egal counsel review this agreement, print to signing it, and 1 avknowledge that [
fave lot been forced or coerced In any manner to sign this Agreement end do so of my own tree will,

After reviewing thls document close this window ta contimte the Brant acecptance process.

KXRL2 SKE
10:00:00
ACCEPT

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Chase Amundson | LinkedIn Page | of 3

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Cc hase Amu ndson 308 Find @ diffarant Chase Amundasn

5 + connections
Strategic Account Manager at Ultimate Sofware FistHtene Lal Name a

Greate: Minneapolle-SL Paul Area Human Reaguross
Exaniple: Chase Amundson

   

Pravious ADP

Educator Minnesola Slate University, Mankalo Chase Amundson
Recommvridations 1 pereon has reconmnended Chase Distiot Manager al ADP
Websites Company Website Unked Slates

ay

More peofeasionsis named Chase Amundson

Join Linkedin and access Chase's full profile, It’s repppawe woes

freel

As a Unkedin member, you'll joln 300 million other professionals who are
sharing connectors, deas, and opportunities, - ”

Be Ryan Brockhousa
f Relvoment Readiness for Amarice

Magan Kearns

;, Vice President of Salas ~ West Region,
+ See who you know fn conimon ADP Retrement Sorvinse.
1 Gpt Introduced
' Geniact Ohage directly & Ryan Hopper

View Ghase’s Full Profile -
| Todd Johnsen
[ Cilent Account Exesubive al ADP

Me Karl Mlichall

Surnmary .
E Disiiot Manage! at AOP Tolaisaurce

Spoctaizing within the small huainess sector of Minngapelle Minnesota region,
Stephen Ager

Spacialtlon:(losnsed representative with bolh series 8 4 Ba

Kyle Gold

Seles Execullye al ADP
Experlenca

Laura (Linneman} Peterson

Stralaglo Development Mana
Strategle Account Managar Ultinnate: 2 fap anager
Uititnate Software var eae

David Benjamin
Retirement Series Distiot Manager
al ADP

Seplember 2015 — Present (2 months} | Greater Minneapolis-St. Paul Area

District Manager
cs fa?

May 2007 « September 2045 (0 yeard 5 months}

Hf Ghelatophar DeVile
Regional Vice Preekiant at
Transamerica Retlement Sakitkons

 

Payroll/Retlrement Services Representative

ADP
May 2007 —Seplember 2014 (8 years A months}

 

Enrolled wih ADP esa Peyroll represehative and a Reilement Service representative. Tha poation
consists of a ful-service amall business service provider, Asslels cllente with payroll lax Ming
convarsion/setup and advising associated with email business 401K relyement plans.

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Chase Amundson [ Linkedin Pape 2 of 3

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401k Payroll ADP Payrail Ouslomer Serica Retirement
What you can ty:

Small Business Employes Benafits Time Management = Gold Caillng Salsa
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8
Team Building ee 2+ Retype the address.

® Go back ta the previous page.
Most flkely couses:

Education

Minnesota State University, Mankato
2008 ~ 2007

 

Minnesota State University, Mankato
Bachelore of Sclance , Iniemational Bulsnees & Matkefing

 

Resommendations

A preview of what Linkedin members hayes lo say about Chase:

 Chaan is a delailad oriented parson end really knows haw to cannest with all types of business
ovmers, | work with Chase ona weekly basis as wa give mfemals back and forth. Ha always.
follows up with ofents in e timely manner. Graat job Chage, 3?

See more i

Sign yp to sea wie recomenended Chase

Honors & Awards

Additional Honore & Awards

Graduated MNSU with Academic detinelion: Cum Lauds
NO&c (National Collagisia Sales Compalltion) Competitor

     

Groupa
fizsovecon Al,
baie tates Dia H a
OFFICIAL Miinsagta § Minnesota Business @ «= ADP Retlrament Servis
ate University Mankato  woore & CEOs Ba

Alumni Agsooclation

View Chase's full profile to...
https://www. Jinkedin.com/pub/chase-amundson/7/a0/534 10/12/2015
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Chase Atnundson { LinkedIn Page 3 of 3
+ See who you Knew In common i
Gath Whatis linkedin? Jein Today Sign In

+ Contact Chape ditsotly
View Chaae’s Full Profile

Nol ihe Chase Amundaon you're tooking for? View more

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i

 

About Ultimate Software

Ultimate Software. People First,

At Ultimate Software, we have always put our people first, This Idea permeates our culture to its
core, For over 25 years, It has driven us to create the innovative products and services we offer
today. As a result, we enable our customers to put their people first—helping them bulld the people-
centric environments they need to grow and meet their business goals,

We believe software should work for people. Not the other way around, Customers choose us for our
sophisticated people management technology delivered tn the cloud, But we know that it’s the
results--how well we Improve the personal work experience for you and your employees—that
matter most.

With a focus on people in everything we do, we've bullt UltiPre with comprehensive capabilities and
simplicity of use to make your life easier. We give you tools to manage every workforce need—to
recruit and retain a high-performing workforce, You get HR, payroll, and talent management Ina
single solution that seamlessly connects people globally with the information and resources they
need to work more effectively,

We devote 100% of our resources to the research, development, and delivery of industry-teading,
continuously evolving human capital management (HCM) technology, Gur undivided attention has
made us experts in the Industry—trusted advisors and business partners who can be counted on te
deliver sustained excellence in HCM solutions,

Ultimate has more than 2,800 custamers with employees In 140 countries, Including Adobe Systems
incorporated, Culligan tnternatlonal, Major League Baseball, Pep Boys, Yamaha Corporation of
Amerlca, and Texas Roadhouse,

Our focus on people Is evident and award-winning. Ultimate Software Is ranked #21 on FORTUNE
magazine's 2016 list of 100 Best Companies to Work For, Previously, Uitmate was ranked #20 on
FORTUNE's 2014 Ust, #9 on its 2043 list and #25 on its 2042 lst.

Corporate Headquarters:

Ultimate Software Corporate Offices
2000 Ultimate Way

Weston, FL 33326

Phone: 1-800-432-1729

Ultimate Software Corporate Offices — Canada
144 Bloor St. West

http://www. ultimatesofiware.com/A bout-Us 10/3/2015
Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15 Page 57 of 66 PagelD: 60

About Us: Simplifying HR, Payrot! & Performance Management Page 2 of 3

Suite 400
Toronto, Gntarlo MBS 1M4
Phone: 1-800-432-1729

Founded: 1990

Ownership: Public, Nasdaq: ULTI

2014 Revenue: $505 M

Customers: 2,800, in over 160 countries
Number of Employees: 2,600

Find out how Ultimate Software can help you meat your HR, payroll, and talent management needs,

Company Information
- Company Profile
Read Our Latest Press Releases

Product Information
UitiPro Product Tours
Whitepapers

Mission Statement

Our mission is to deliver unified, end-to-end HCM cloud solutions—everything fram HR, to payroll,
to benefits, to time & attendance, to recruitment, to talent management—te improve the personal
work experience for you and your people — the powar behind your business.

The Power of UltiPra

   

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About Us: Simplifying HR, Payroll & Performance Management

HCM Solutions
HRMS / KRIS
Payroll Software
HCM Features
HEM Tours
UitiPro Services
HCM Cloud
Global

s.. Mobile HRMS
Paperless HR &
Payroll

Customer
Stories

By Industry
HR Heroes
Innovation
Awards

Resources
Whitepapers
HR/Payroll
Webcasts
HCM Academy
Video Room
ACA Resource
Center
Infographics
Case Studies
Millennial
Research

Events
HR/Payroll
Webcasts

HR Workshops
Seminars
Trade Shows
HCM Academy
Connections
Conference

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Company Culture
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Payroll

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UltiPro; Human Capital Management Solutions Page } of 2
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HCM Solutions

UltiPro® unites all aspects of HR, payroll, and HR talent management

This ail-Inclusive cloud-based solution delivers serious businass benefits for your organization and the
most human capital management (HCM) functlonality available for the greatest value today.

Click on a heading belaw for more information:

HCM Solution Tours

Whether you are art HR director, HR manager, payrall professional,
CFO, executive, supervisor, or hiring manager, Ultimate has a people
management solution for you. Check out ong of our tours to sae how
UltiPro’s end-to-end HR, payroll, and HR tatent management
functlonailty can make everyone in your organization more effective.

HEM Solution Features

Solution features include HR, Payroll, Benofits Administration, Open
Enratiment and Life Evants, Time, Attendance, and Scheduting,
Payroll Administration, and Tax Management. Other strategic tools
inctude Global HCM, Reporting, Workforce Analytics, and Business
Intelligence. There [s also talent management functionality, which
includes Recruiting, Onbearding, Career Development, Performance
Management and Succession Management.

UltiPro Services
UltiPro Services Includes UltiPro Managed Services, UttiPro Partners
jor Life, Payment Services, W-2 Print Services and UltPre Check
Printing.

Green Benefits of HR and Payroll Software

Ultimate Software ts Armly committed to sustainability strategies in
its own business practices and through its people management
solutions that replace paper processes. Ultimate has earned a
“green business” certification from the Institute far Green Business
Certification, inc. for canservation measures In arens such as waste
reduction, recycling, reduction in office materlal usage, purchasing,
and energy savings.

 

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UltiPro; Human Capital Management Solutions

HCM Salutions
HRMS / HRIS

Payroll Software

HCM Features
HCM Tours

UitiPro Services

HCM Cloud
Global
Mobile HRMS

Paperless HR &

Payroll

Customer
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Resources

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Automatic Data Proceselng
One ADP Boulevard
Roseland, NJ 07068

(T) 973-974-8000

 

(Direct Dias} 873-074-4078
Joe.Nuzz0@ ADP.com
Via UPS Next Day Air
September 10, 2015
Mr, Chase Amundson
5524. Knox Ave. 8
Minneapolis, MN 55419

Dear Mr, Amutidson:

T understand that you have recently left ADP and haye joined Ultimate Software Co., Inc.
(“Ultimate”), As you-are-probably aware, Ultimate fs a competitor to ADP. Accordingly,
Tam writing to retnind you that you have significant continuing obligations to ADP and
to obtain information about your new role at Ultimate to ensure that you are complying
with your restrictive covenants with ADP. ADP expecta you and Ultimate to fully comply
with your obligations under your agreernents and the common law, Copies of agreements
between you and ADP are enclosed, Understand the following:

' You not work for Ultimate in a stmilar position within the tertitory and for the tlme
period set forth in the enclosed agreements dated September 2, 2014, September 3,
2013, September 19, 2012, September 22, 2011, September 23, 2010-and-.. . ..
September 24, 2009.

" Also for the period of time set forth in your agreements, neither you, hor anyons else
at Ultimate based on information used or provided by you, may solicit, contact or
speak with ADP clients, bona fide prospective clients, vendors or business partners
or discuss information conceming ADP or Its clients, vendors, business partnars,
services and products,

" You must not use or disclose to Ultimate or others (directly, indirectly or
inadvertently) any information concerning or relating to ADP or ADP's services,
products, clients, bona fide prospeots, vendors, business partners or employees,

‘ Neither you, nor anyone else af Ultimate based on information used or provided by
you, may speak to or contact present or former employess of ADP far solicitation
or hiring purposes or provide information to others to solicit or hite ADP
employees. Simply put, you should be doing nothing, directly or indirectly, to
encourage ADP employees to leave ADP,

‘ You are obligated to return ta ADP all ADP materials, including, but not limited to,
documents and electronic media containing (a) the names, contact Information and
sales information regarding ADP employees; (b) information Tegearding ADP’s
products, services and strategies; and (c) the names, addresses and néeds of ADP
clients, bona fide prospective clients, vendors and business partners,

Pha AQP Loga and ADE are registered iedamarky al ADP, Ine, @RITE ADP, fe. Pemeu titan tb.2 (dy
Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15 Page 62 of 66 PagelD: 65

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Mr, Chase Amundson
September 10, 2015
Page 2

YT ask that you confirm that you (1) will not work in a competitive position for the
remainder of your non-competition period; (2) will not directly, indirectly or through
others solicit, contact, refer or spoak with ADP clients, bona fide prospects, vendors,
business partners or employees or discuss information concerning ADP or its services,
products or employees; (3) will not use or disclose any confidential or proprietary
information of ADP, (4) will not contact ADP employees, directly or through others, for
solicitation or hiring purposes; (5) have returned all ADP documents and materials,
incliding bat not limited to any documents or electronic media containing any
information regarding ADP products, services, sfrateglés, tients, bona fide prospective
clients or employees; and (6) intend to fully comply with your obligations in the future.

Also, because of the potential competitive overlap between your new role at Ultimate and

your former roles at ADP, that yo ide_a desorintion of the job
location, and any territo oclate: our new position at U 6 80 that ADP can

verify that you ate not violating your agreements with ADP. Indeed, you ars required to
provide this information pursuant to your September 2, 2014 and September 3, 2013
agreements with ADP, which state:

I also agree to provide a copy of this Agreement to any subsequent
employer, person, or entity to which I intend fo provide services that may
conflict with any of my obligations in this Agreement prior fo engaging in
aby such activities and to provide ADP

 

gov such employer, person, or entity and a description of the services I
intend to provide prior to engaging In any such activities,

in the event that you decline to provide the information requested above, ADP must
assume that you are working in violatlon of your agreements, Accordingly, In the absence
of a satisfactory response to this letter by September 25, 2015, ADP will consider all
appropriate actions to protect its valuable rights.

Nothing herein is intended by ADP, nor should it be construed by you, as a waiver or
rel{inquishment of any rights or remedies which ADP may have in this matter, and all such
rights and remedies are hereby specifically reserved,

Very traly yours,

Lolage

Joseph C. Nuzza, Ir.
Counsel

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Mr. Chase Amundson
September 10, 2015
Page 3

Enclosures
eco; = Robert Manne, Bsq,
Ultimate Software Group, Inc.

2000 Ultimate Way
Weston, FL 33326

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EXHIBIT B

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LINDABURY, McCORMICK, ESTABROOK & COOPER
53 Cardinal Drive

P.O. Box 2369

Westfield, New Jersey 07091

(908) 233-6800

Attorneys for Defendant

Schmidt -- ID#016301977

 

: SUPERIOR COURT OF NEW JERSEY

 

ADP, LLC, : CHANCERY DIVISION: ESSEX :
:-COUNTY
Plaintiff : DOCKET NO, C-268-15
VS :
CHASE AMUNDSON : NOTICE OF FILING
Defendant : OF NOTICE OF REMOVAL
TO: CLERK

Superior Court of New Jersey
Chancery Division

Essex County

Wilentz Justice Complex

212 Washington Street
Newark, New Jersey 07102

Harris 8. Freier, Esq.
Genova Burns

494 Broad Street

Newark, New Jersey 07102
Attorneys for Plaintiff

PLEASE TAKE NOTICE that on December 29, 201 5, the Defendant, Chase Amundson,

filed with the United States District Court for the District of New Jersey the attached Notice of

2601771 v
Case 2:15-cv-08951-KSH-CLW Document 1-1 Filed 12/30/15 Page 66 of 66 PagelD: 69

Removal, a true and correct copy of which is annexed hereto as Exhibit A and hereby served

upon you.

Lindabury, McCormick, Estabrook & Cooper
Attorneys for Defendant
ry

John H. Schmidt, Ir.

       

Dated: December 2, 2015

2601771
